 

 

Case 7:15-cv-OO465 Document 1-9 Filed in TXSD on 11/06/15 P§QC§;FO%&§|>§‘§M

6/19/2015 5:25:13 P|\/|
Hida|go County District C|erks
Reviewed By: C|audia Rodriguez

CERTIFICATE OF SERVICE

I, JESUS RAMIREZ, certify that on the 19th day of June, 2015, a true and correct
copy of the foregoing, PLAINTIFF PHARR SAN .IUAN ALAMO INDEPENDENT
SCHOOL DISTRICT’S EXPERT DL§SIGNATION was mailed on the following counsel of
record:

Via Cer£i[ced Mag'_!_,

Return Recel'gt Reguesred No. 7015 0640 0006 9943 7345
Aml Emm‘l: dben.,r_‘amin{¢i)éen!aw.§a.com

David P. Benj amin

BENJAMIN, VANA, MARTINEZ & BIGGS, LLP

2161 NW Military Highway, Suite 1 11

San Antonio, Texas 78213

Via Certified Maill

Return Rcceigt Reg ucsth No. 7015 064(| I]l}[lG 9943 7852_
Anr! Emax'£: mbc@gag!aw.com

Matthew B. Cano

Sara Whittington May

ALLENSWORTH AND PORTER, L.L.P.

100 Congress Avenue, Suite 700

Austin, Texas 787 01

Via Certified l\¢’,lnill
Return Receigt Reg uested No. 7015 0640 0006 9943 7869

And Emaz`!..' sedward§@gudgins-!aw.com
Spencer Edwards

THE HUDGINS LAW FIRM

A PROFESSIONAL CORPORATION
24 Greenway Plaza, Suite 2000
Houston, Texas 7 7046

4//'_/

JESUS 'RAMIREZ

 

 

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Agustin J Rodrig uez

316 W. Nyssa

McAl|en, Texas 78501 956.451.7272 mobile
E-mail: muesunstudto@xahootcom

SUMMARY: l-iave managed design projects from inception thru construction administration for
design offices. Launched, managed, and marketed Rlo Grande Va||ey architecture satellite office for
over four years for PGA Architects. Developet| a project management handbooi<, a company
webs|te, and an office practice standards manual for PGa corporate office and ROFA Arch|tects.
Haye extensive knowledge of building codes, governing agency regulations, hospital licensing
standard and construction. Si<i||ed at building effective, productive working relationships with
clients and staff and have excellent analytica|, organizational, and creative sk|||s.

EDUCTATION:

The Unlversity of Texas at Austin
Bacheior of Architecture Dec. 1996
Honors and Act/'v/‘ties:

Mebane $cho/arship Recipient

Slab Student Publlcatlon

Furnlture Deslgn Scho/arsh/p Award

EMPLOYMENT:

PSJA ISD
Pharr Texas ]uly 2011~ present

District Project manager coordinating design and construction teams. Estab|lshed building programs,
staff coordination requirementst schematic designs, and coordination with design team for
implementation Heid ore bid and bid conferences with design and construction team. Estab|ish district
building and material standards, created a construction filing systems and generated AIA contracts
Head the contractor and design team ranking committees Head facility board workshops and made
board project update presentations Work closely with other district teams for in house projects
Assist attorneys with drafting architect, engineer and other design professionals contracts; participate
|n all phases of procurement of design professional and contractor construction contracts; assist with
evaluation of design-phase submitta|s by architects and englneers; review cost estimates by
architects; assist with negotiations of terms construction contracts; change orders, requests for
information and coordinate and supervise Owner's construction phase project construction staff;
coordinate and document Owner's substantial completion, final completion and post-completion due
diligence.

ROFA, Inc. Archltects $eptember-2005-]uly 201 1
McAlien, Texas

Head designer for ROFA, Inc. McA||en for over 6 years designing Schoo|s, Comrnercia|,
Governmental, and Hea|thcare Projects. Master P|anI Architecture, Interiors, and building systems.
Coordinated staff requirements to establish building programs and coordinated design teams.

Po|klnghorn Group Arch|tects, Inc. 5eptember~1994-September 2005
Aust|n, Texas

Junior Partner of PGa-Austin with over 10 years of experience in the architecture fie|d. Participated
as Project Manager and design lead on a variety of healthcare, commercia|, educational, religious
and interior projects.

Cornerstone Group Architects May 1994-August 1994
Austln, Texas

Design lead and drafting support with premiere high end residential design!bu||d firm in Centrai
Texas. Deveioped presentation, schematics, concept drawings and coordinated construction
documentation with consultants while attending undergraduate studies at the Un|verslty of Texas at
Austin.

 

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Dick Clark Architecture March 1 994-May 1 994
Austin, Texas

Developed concept and presentation models for an international award winning firm while attending
undergraduate studies at the Univers|ty of Texas at Austln. Projects include single-family and
multifarni|y residential projects, resorts and custom homes throughout the united States and the
Caribbean. The firm is a leader ln hospitality design of some of Texas‘ most successful restaurants
and golf course amenities.

SKILLS AND ACCOMPLISHEMENTS:

Design Projects:
Managed, seiected, and directed design and consuitant teams for numerous iarge
and smaii design projects around the United States. Coordinated bid and
construction documents from design deveiopment to construction administration

PSJA ISD D/str/ct Project Manager coordinating Education facilities with design and
construction teams.

Selected Project List.'

Audle Murphy Midd/e $chool: Gignac Arch/tects
$outhwest High $chooi: ROFA Architects
Thomas Jefferson Eariy Coiiege Campus: ERO Archltects
Alda Escobar Elementary $chool: EGV Architects
Ford Elementary $chool: ROFA Architects

Faries Elernentary $chool: ROFA Archltects
Escaiante Mioidie $choo.-‘: Gignac Architects
McKeever E/ementary $chool: ROFA Architects
Arnold Eiementary $chool: l//ttetta Architects
PSJA ISD Stad/um Renovations: ROFA Arch/tects
Austin Middle Schooi: Glgnac Arch/tects

LB] Mldd/e $chool: EGV Architects

North Hign Scnooi Renovations: ERO Arcnitects
Aiamo Middie School Renouatlons: Glgnac Architects
Sorensen Elementary $chool: ERO Archltects
Marcia Garza Elementary $chool: ERO Architects
Ramirez Eiemcntary $chooi: Miinet Architects
Longoria Eiementary $chooi: Gignac Architects
Sclence Additions: ERO Architects

Science Additions.' ROFA Archltects

Farias E/ementary $chool: ROFA Architects

ROFA, Inc. Architects:
Head designer coordinating design teams and projects. Mu/ti disciplinary function
as office coordinator and project manager.

Seiected Project Ust:

Hidaigo County Oii‘ices at the formeriy know as the Kmart Bu//d/ng - Edingburg,TX
Mariret Center Commercr‘ai Deveioprnent - McAi/en, Texas

Trevino Shopping Center - Pnarr, TX

McAiien War Memoriai - McAiien, TX

La Pledad Cemetery Monument - Mc/-'lilen, TX

vaiiey View Ino'ependent $chooi District - Pharr, Texas

PSJA .independent $chooi District a Pharr, Texas

Faifurrias Meo‘icai Piaza - Faifurrias, Texas

 

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Poli<inghorn Group Architects, Inc.:

Deveioped Marketing strategy and targeted client base for Poll<inghorn Group
Architects, Inc. i/a/ley office. Establlshed contracts on several healthcare, religious,
and residential projects and developed programming for healthcare campuses.

Seiec'ted Projact List.'

Physician's Hospitai of Merceo‘es - Merceo'es, TX

Brownsviiie Imaging Center - Brownsviiie, 'i'X

$t. Peter & St. Pau/ Episcopal Church Master Plan - Mission, TX
National $pecia/ty Hospital of Ei Paso Addition and Renovation ~ El Paso, 7'X
Sunset Canyon i/eterinary Clinic - Dripping Springs, TX
DeTar Hospitai Renovation - i.-'ictoria, TX

Bay Area 5urgicai Center » Webster, TX

National Speciaity' Hospitai of San Antonio - San Antonlo, TX
Coieman County Medicai Center - Coiemsn, TX

But/er County Surgery Center - Harniiron, OH

North Centrai Baptist Surgery Center - San Antonio, TX

i/A Meo‘ical Center - Tempie, TX

Pari< Piace Surgery Center - Lafayette, LA

Surgicare of take Charies - take Charies, LA

Podlo Residence - Austin, TX

C/ark Residence - Dripp/ng Springs, TX

Drlpping Springs Comrn unity i_ibrary - Dr/pplng $prlngs, TX
St. Martin de Porres, Dripping $prlngs, TX

Round Rock $urgery Center - Round Roci<, TX

South Austin Health Ciinic Addition & Renovat/on - Austin, TX

Community/Associat|on fnvoiuement:

Technicai:

American Institute of Architects: 1997-present

Texas Soclety ofArchitects: 1997-present

Intern Assoc/ate Dlrector 2001 -2003

LRGi/-A!A Design Awards Commlttee Chalr: 2002-present
BCC Marketlng Committee 5ecretary/Chalr 2003-2004
LRGV-AIA Executlve Committee Member 2002-2004
Proyecto Azteca.' i/o/unteer - 2004

FAIA Portfolio Delgn: “Tom Ashley, FAIA": 2002
AIA-Austin Homes Tour Commlttee: 1997-2000

Proficlent ln Autodesl< AutoCAD, Adobe Photo$hop, Microsoft Publisher, Adobe
PageMaker, Sketch-up, and Wlndows based programs and software
Free hand concept drawings, models, and renderings

AWARDS AND RECOG NITION:

Communlty Outreach Award : Alds Seri.rices ofAustin - 1999

AIA-Aust|n: Young Architecturai Professionai Award Nominee - 1999
Semi-Annuai Pulse Innouative Design Contest: Honorai)ie Mention - 2000
Veterlnary Economics Hospitai: Design MerltAward - 2002

LRGV-AIA: Presldent/al Award - 2002

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AMSTAR ENG_INEERING, Il`l(")".v .-
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Aql_§st_iq,'Téx_ils 78734~.'-`-- .

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'_ " Loirl¢lana` Gm§éh.,.;€dorado " -
j mmm_'pl- .' Uni¢___'§vl_:i¢mcp_r§i_liu.___, _-.

 

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' Unlde`mlty-of;j'axas, Austin" _`-`_-_1;¥6’5!-_8!66 ~- `MS_:Ar_E'-Bi§§_ ' _

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"'arméom“am“°t“§a“°i"" °“9'"°9*§':‘9'-¢|€5.1911 il_r.`m engaged in-ogmmercla:. mdus_triai.an_d
' residemi§!`bun-dmg and-site desigl?.ig'.e.nel'al 00“31|.|““9; |..'.!E‘P°cgonsz and forensic ?na|\)'$is.an'd .:.-; ' " `
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' englneerlng_phr_qf_e:ct design ehg§h"e_er.~ Prpjecie_includedz§i_[g{dt'ura|,design of-'offlce buildinge,_"..'_ `
t aparh*'n_en§s,-§eiyag_e;_tr_ea_tmehtp_|a_ng_ts and,_._»_s_ourtpouse-_,mc_)di.f_icatlons. Structural investigative-end
repairana'ly`a'ia:lnclude_.`él';a'pantmgfits;.._`h`ouae_&s, office-buildings and governme_ntfac|||ty. Civ|l ' ’
' engineering idat§i§n'.ihc_`;ll_jd,e‘¢i:_afo§_c`ie, d`ra_lne§e',.wastewate`r..[®]|ectibh__an_d`diapoa_a{'-faci|ltiea for." .
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' `- "9!84 BiBB_aQapitel_E[éctdt§`§F\uet]ni '_|'-_e`x'_éle'.;_.-\sii<:er-;}c)r_¢;r_s.ide_m_t_.'.e\r,1'd=\_’&\iE'£::of‘.ne'»:'u\llgym°-c)_rrm_e`_<i_1 _,
gteel,etedtiqri qqmpanyl_fDutlp§-'inc|__t_.'ldedfstrup_tur§_lanalysisof'cornplex,ste_e|_e.rec'f|on procedureé, - "" "

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general administrationl contract negotiation_, personnel co_ntroi, field coordination inspection and
safety evaluations z ;

_ 11l82 - 3l84 - Daliiliac Development Ccmpany, Dalies, Texas; il|ce President and CEO of
Daliiliac Residentla| Deve|opment Corporation in charge of acquiring developab|e land for `
apartment and condominium projects in the Dalias area.- R€Sponsibl||t_l.es included general
_administretion,'contract negotiation civil engineering analysis of. proposed land acquisitions and
structural engineering evaluation of existing apartments and condominiums proposed for `
acquisition ;

9/75 -:9l84 - Pre_sident; T. ,J.' Melton, ill & Associatesl |nc., |\ilidiand, Texas, a civil/structural
build/design firm. St'ructurai engineering projects included Westgate Buslness Pari'<‘ (offlces and
warehouses), medical facilitie_s», oilfield structures insurance offices, retail centers, hote|_s`,
schoo|s. churches and large residences Civi| engineering projects included Westg ate Acres _
roadsl utiiities and drainagel and a large water-recreation perk. Companv closed in 1984 due to "
overall decline in oi|- related Texas economy. Worked full time from 9i?5 to 1‘il82; part- lime from
11182 to 3/84, and full time from 3/84 to 9/84.

9/7:3 - 9/75 ~ Project engineer; Bryant-Cur|hgton, Consulting Eng|neers; Austin, TX; ;Pro]ec_t
design engineer for expansion to Davis Wafer 'i'reatment P|ent; preliminary studies of Onfon
Creek Sevvage Treatment P|anf; and various subdivision roed. bridge and drainage projectsl
Responsibiilties included structural design of ciar|fiers, filtrationl chemical buildings and
lai:>r.~rat_o_riesl and associated civil design of road accessl parking and drainage facilities

5i70 - 9l73 » Greeven & Stoeltje, Consulting Engineers; Austin, TX; Pro|ect structural
design engineer for various projects including elementary schools at Breker Lane. Rundburg Lane
and Austin High School; Water Resources State Otfice Buiiding, Travfs County Courthouse Annex
and_Parking Garege. Univers|ty of Texas Regents Buliding. various Universlty of Texas buildings,
smaller office and retail buildings and University of Texas of the Perrnian Basln_. Responsibi|lties
included full charge design, coordination of drafting and some project inspection Deve|oped .
computer software for building analysis Buildirigs varied in size from single story to twelve-story
structures. .

9l68 '-` _5/70 - Structura|'Englneer; Eugene Wuk'asch :& Assoclates; Austin, TX; Design
engineer in charge of working drawing preparation coordination between various design
professionals field inspection and client negotiation for various buildings, including retail facilities
apartmentsl churches mobile homes, mobile schools and various projects for_the Corps of
Enginesrs. iviilltarv projects included aircraft hangers and offices. commissary expansion and
WAC' barracks at Ft. Sam Houston and Brooks AFB.

1_0/67 - 9/68 - Associate.Engineer; Fluor Corporation, Houston. ;TX; Project engineer inf ‘
charge of structural design of.petrocl'iemlcal facilities including buildings, pipe support structures
and foundations and civil design of drainage. pavement and wastewater collection and disposal `
Responsibl|ltles included directing_e team of engineers involved in specialized design cf steel and
concrete tower structures for,wind-and earthquake ioadings. Ci|ents included Texacc and
Petrotex Petr`oieum Company.-:?i\iiost projects exceeded $5 million in construction value

_ 8/66 -10/67 - Structiirai Designer; Brown & Root, lnc.l Houston, TX. Design engineer of
domesticl foreign and offshore facilities including docks. \.-.'arehousesl petroleum facilitiesl drilling
piattor'm`s, and government buildingsl Much of the design work performed during this period
encompassed numerous smaller components of larger structures1 such as specialized design of
concrete retaining wal|s, column and composite beam designl buckling and fatigue analysis of
structures subjected to impact from floating vessels and ice ilcws, and specialized steel .
connection design rviost projects were undertaken in a team-effort atmosphere C|i`ents included
Geigy'Chemicai Company and Nal<oosa Edwards Company. ` . *' ' 1

 

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; § 1/65 ~ 8/66 .- Student; Univers|ty ofiT-exas; Austinl TX; Work_ing toward |\_/|aster of Science
degree in Architectura_i; Eng|neering. W_ori<ed as a teaching assistant in the Department o.f `
Draft|ng. - ' ` ; ,~

z 6/63 - 9/63 - Structurai Draftsman; Preston Ni`. Geren, Architect-'Engineer; Ft. Worth, TX;-
Duties included structural drafting and minor engineering calculations Projects included various
office buildings and high-schools Structura| experience included elementary steel oonnection'and
base plate design, concrete footings; concrete slab on grade; suspended concrete channel floor
systems; and masonry load bearing wall analysis Other duties included coordination between
structural and architectural departments and checking of shop drawings for various projects

6!61 - 816-1~'- Rcdman; Texas l-iighway Departmen`_t; M|diand, TX; Surveyor duties, including
quantity takeoffs.and_measurements: soil tests; surveyor calculations and duties -

_ __9/60 -§1/6‘5- student university ofTexas;lAusiln. Tx; Work_ingj:roward eachelorofsc_iende
degree in Architectura| Engineering. ;

PROFESS|ONAL MEMBERSH.|PS‘.

: American institute of Stee| Constructlon
Amer-lcan Conorete institute - Prev_ious
Nationai Counc|i cf Engineering Examiners.
Texas Society of Professionai Engineers
Nationai Sociefy of Professional Engineers
Amerlcan Soc_iety of Civi| Engineers `

Past Membership_s; 1 ‘ _ .
Chair;r`nan -. Bui|ding Co_de R_eview Comn'iittee a Midiand
Chairman - Planning & Zoning Committee - Mi_dland

4 P|anning & Zoning Comrnission-- Midiand 4 ,'
~ Uti|ity Windowpane Advieory 'Cornmittee - lViidiand

PUBL|CAT|ONS: 1
t Melth ~ "Siructuree Video Seminar' 1938 thru 1997, .
i . Nieiton - "When the Bough Breal<s: Buiiding Faiiuree and the Structural
' Engineering Exp`ert" - 1989; workbook revised 1996. ' . ~ -
. Nieiton - "Faliures of in~Service fviPC Paraii`ei Chord Wood Fioor Truss Components
_ Revea| Defic`iencies in ANSl/TP| _Standa'rds - 2000
|Vielton - l"ADA-A/E Title ill Design Video Seminar", 1994.

 

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.THO|V|AS JUNE i\/iELTONl l|| PART|AL PROJEC'I.` LiST|NG
|NOLUD|NG AIV|STAR ENG|NEER|NG PROJECTS
_(Significant projects listed on|y)

The following panlai listing reflects fthe types of projects
for which T-homa`s Jun`e Melton, ill has provided engineering
services:

FOR AMSTAR ENG|NEER|NG:

A-1 F.ire & S_ecurity Foundat|on / Drainage Eveiuatlon - Waco
A-_1 Rentai Store` - Austin
-Academy Sur;pius Foundation/TiltwalI/Framing - Austin
6903 Agave_ Cv-. PIumbing/Struciu\_'a| - Austin
A|rcraft_ Scaffoldlng;- San Antonio
Airport Marriott Mezzanine - Austin
Aiamo Business CenteriCity Park Burled Uti|ities investigations - San Antonio
Americ`an Freight Drainage Anaiysis )' Drainaga Utilities:» Scheriz. TX ' ` . _
824 Angei Lig ht - lLEil<e Tr_avis ‘- '
App|ehead Cove Repairs - Homeshoe Bav, TX ' -
'Appiied Mater|a_is - Austin ~ . z
'Architecturai Metals (Thresho|ds) Copvrighi Dispute - Houston
1"4731 Ar-r`owhead - Lake _Tr`av_is, ‘TX
AustiniBergstrom Airport Pedeatr|an-Br|dges - Austin ~ _ _
32 Autumn Oa|<s Dr. Roof FramingiWater DamageiRep'afir -`- Hiiis of La|<eway
` A\IAi_ Boat Dock - Austin
Beiby Acapulco Restaurant Addn. - Austin
Ba|cones C|`ub Apartments investigation - Austin
Bank Unitjed ¢_ Austin _
Beaumont Federa| Correctlona| Comp\ex -. Beaumonti Tx
#11 Beecher St. Struc:tura| Repairs - Austin
Beii Towers DrainageiParking - Austin
2315 W. Ben White Medical Faci|ity Evaiuation ~ Austin _
4311 Bennedict Fiood DamageiDrainage investigation - Austin
Best Westarn Hote| Stucco l Water intrusion - Austin
12432 Beveriy Vi||aga Ct. #6 Wind Bracing f Fram|ng Repairs - Austin
B|ngle Road Shopping Center investigation ~ Houston
' 5325 Texas B|uebei| Window Lea|<agefSite Drainage - Spicewood, TX
Boeing Building 3238L - Austin
Bois-Du~Lac Condominiuma - Daiiaa
505 Bolivar Framing f Connectorsl Fiooci P|ane - Be|ia|re, TX 1
780-4 Brightman Lane Struetura|!TrussNVater Penetrai|on - Austin
4805 Brooi< Creei< Cove Foundation investigation - Austin .
Brookstone Apartmenw Third Fioor Wa|i<way Removal ~ Aus£in
Bridge Partlai Co||apse |nv. - va 518, Shraveport, LA
603 Buii Creok Stabiiization - Austin
1441 Bu|| Horn Loop FoundationiDrainage - Round Rock
Bull`ock. Sandra. 2801 River H|iis Road Mu|ti-Damage investigation - Austin
4600 Bunny Run Struciure - Austin
?304 Burnet Rd Fire Damage investigation - Austin
Butterfieid l & ii investigation - San Angeio `
1109 C&D 15 112 Si. Siruciuraii Foundation l Drainage - Houaton
Cam|no Reai Apartments CanopvlStructurefHazards - Austin

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4300 Canoas R_oof; Framing - Austin:

2400 Canoas Drive Structurs - Austin

240 Canterburv TrussrBeam Detioienoies - Dripping Springs, TX

221 Cenyon Trail Swimming Pooi Ana|ysis.- Austin

CAP Water Treatment Piant ~ Tucson. AZ

Capital Metro Bus Parking)'Rataining Wa|isfFiood Studv - Austin

Capltai Metro Maintenanoe Bui|ding DrainageiStructura|.Addition - Austin
Cardinei Hilie Unit 7 Wastewater Stuciy - Trevis County

Casa Grande Hwy. F|ood Reiief 8. Bl"idge Rai| - Phoanix, AZ

3408 Cascedare Dreinege!Struoturei ~ Austin

Catheiena's Resteurant Structura|/Septic - Cedar Parkr

l220 Cedar_ Hurst Lane Chair Lifti'Anaiysis - Lake Travis

11094 Cedar Park Drainage/Structurei - San Antonio

Cedar Park CommunityiRecreetionel Center Stairs and Rai|s - ,Cedar Park .
2725 Cedar Springs FremingiF-oundetioniDreinageiMoisture investigation -, Round Roek
2714 Ce_dar` Springs Frarningii=oundatloniDrainageiMoisture investigation -z Round Rock;
Centercourt Drainage - Austin

Centex Rsiaining Weii Co||apse inv. Rivermistha|ier Ranch - San Antonio
Chainsaw iviessacre Movie Set Structurai Anaivsis - Austin

8400 Chelk Knoli FoundstioniPooi investigation - Austin

8904 Cha|k Knoi| Drive FirepiaceiChimneviWater intrusion inspection - Austin
25938 Chapman Faiis Foundation i' Drainage |nv. - Richmonci. TX `
Chase Apartments Roof i Structurai i Nioisture Assessment - Austin
Citv-County Jaii - Oi<iahoma City, OK

-City -Nationai Bani< - Austin

Gity. Park Recreetion Buiiding--_ San Marcos

9403 Ciearrock Adciitions - Austin

Coie Beptist Church Roof Truss Faiiurei|niurv - Duncanviiie

_Coiiage House CoOp Rehab - Austin

Coilege Park Shopping Center » Kiiieen

Coiorado Eiuiiding improvements - Austin

Comrnadore R|verboat Hu|i Repeirs - Austin

111 Congress Sign - Austin - »

C_ongress Ave. Mini Storage Fire Damage investigation -'Austin
Continentei Construction Casino Deiey Dameges Eva|u`ation - Aiebema
Convenienoe Store Csnopy - Fredricksburg

2208 Conwav Cove Framing Assessment - Pfiugerviiie

Copperas Cove Jr. i-iigh Connections - Copperas'Cove

225 Corinthian Sw|rnming PooiiSeptic System investigation - Lakeway
Cornett R_oof Truss Faiiureiin]urv -» Austin

Corridor Park 5 - Cort Furniture - Austin

2150 Cottonwood Creek FoundetioniPooi Assessrnent - Austin

Coulver Rd. Septic Svstems-- Austin .

_617 Coventrv Reeidentie| Design - Austin

Crane Manbasl<et ~ Austin ;
2905 Creei<s Edge Parkwey Masonry Repairs - A_ustin`»
'911 Cross Wind investigation - Austin

Crossiand Eoonomy Studio - Austin

Cvpress`Semiconductor improvements - Austin

DART City Piace - Dai|as

. DART improvements _- Dalias

D`avs inn - Diamond-Ber, CA
iDean Witter Sign - Austin

_9212 Decksr Lane Site Damage Assessment - Austin
._Dseb Wood Truss Defect investigation - \Nv _ ' .
' Delette Mobi|e |-iome ivioisiure lntrusioniSti'ucturailVent|ietion/Piumbing -_=_Louisiana

 

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Denver Paviiions Shopping Center - Denver, CO

D_epartme_nt of Econornio Security West -‘ Phoenix, AZ

;Dittm_ar Lumber Warehouse - San Antonio

Doss Road Wastewater System - Travis Cou'nty

12506 Dover Drive, iviontgomery, TX _(Chapman)

Downtown'Tripariy Bridge -' San Antonio

Dus|<a vaimming Pooi -Austin

, Dutchman's Market=Fr‘eezer Bui|ding investigation - Fredericksburg

Duvai Count_y Courthouse Water intrusion/Superstructure/Civii - San Di`ego. TX
421 Easi 6"‘ ADA lssue - Austin v '

805 East;az-“° st Medical offices Foundation/Piumbing - Austin

#13 Ehriich Peoi/Retaining Waii Repairs - Austin

Educare Housing - Austin

Eisiey Library Door Accidentf- L|nco|n1 _NE g

Ei Monterrey Apartment Foundation investigation - Austin _

Enginesring ethics opinion letter (confidentia|]

Encycie Texas Piant Dismantie investigation - Corpus Christi
32408 Enfieid Waterproofing and Drsinage investigation -'Austin

Entertainmsnt itt Sports Arena - Reieigh, lN.C.

Escaia Apartments - Retaining Waii Faiiure /'Drainage -'-Austin

Esther's Fo|iies Expansion - Austin _
;122_10 Fairhaven Foundation )' Drein`_age inv; - Montgomery, TX

Far West Skviine Condomium Rehab - Austin `

101 Fawn iv'ieadow Repairs - Austin
1101 Fawn i-ioiiow Braeing, Windows, Founciation issues - Dripping Springs. TX _ . .
FDNS Medicai Bui|ding Thermai Barrier-/ Vi_ny'i iviateriais investigation - view Brau'nfels
FDNS i\/i_edicai Bui|ding Therma| Barrier / Vinyi Materia|s investigation - Seguin
101 Fire`bird PooiNVaii - Austin

121 Firebird St. - Rooi repairs - Lai<eway, TX

Fia mingo Centine Canopv & Mezzanine - Austin -
Fieetwood Sui:rdivis_ion - Memoriai Dr.Fiood iWater Barrier Drainage investigation - Houston
Fiower iviound High' Schooi Lewisvii|e lSD Water D|scharge -~ Fiower Mound, TX -
Fo`rest Creek Aeriai Crossing - Pfiugervilie

Forest Creek Retaining Waii/Cu|verts;- Pfiugerviiie

Forest Oaks Wast'ewater Wetwe|i - Cedar Park

Ft. B|iss Hangar Deor investigation - Ei Paso

304 W. 4th St-Austln _ ` `

807 E. 14th St. CondofBuiiding Water Penetration/ Structurai - Austin
FoundationiSuperstructure Anaivsis - Primarv Schoo| - Eagle Lake

Foundation Anaiysis 11620 Loweswater ~ Austin

509-621 Frankiin investigation - W'aco _

2800 F ranch Piece Drainagei$tructtira| investigation - Austin `

Fresno Federei Courthouse Structurai Assessment - Fr.esno. CA
iFruit-O-Loom Siip/Fail investigation -,Hari|ngen, TX '

Fuikes iviiddle Schoo| lBeem Connections -.Round Roci<

Gab|es at Barton Creek Coiumn Re'pair- Austin

Ga||erie Oaks Shopping Center investigation - San Antonio

4205 Gattis` -School Road Pavement Assessment - Round Rock, TX

11901 Gateway Swimm|ng iPooi/Fioodinngrainage - Austin '

Genere| i\iia_i| Faciiity - Bryan

Generai Te|ephone & Eiectric. - irving

Georgatown Jet Addition - Georgetown, TX . '

42 Governors Court Structurai!Fire inspection - Austin `

Grace` Lutheran Churoh -Wimberiy ' ‘

. Grand Ca`sino - Tunica, iViS.
Grand Casino Hote| Structures - Biio)<i, MS

 

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9714 Grand Oaks Low Speed Car C_rash - Struc_tur_ai Damage -;Austin
Granite Quarry Piant Warehouse - Austin
Grapsvine iViarket - Austin
Greathouse Eiernentary Platforms - Midiand
Greatiand Ofiice Park improvements - San Antonio
Hackberry Co.nven'ience Sto_re Cenopy - San Antonio
Habitat Viiiage investigation- -Austin
Harbor Circ_ie Swimming Pooi lnvestig_ation- -Georgetown
Harthan House Apariments (Historic)- Stabi|ization and R`estructure- Austin
Hartman Post House- Lake Travis
Hatch/Carr/A'shcreek Structurai investigation - Austin
Headquarters Bld`-g i<irt|and AFB
20707 i-tenrv_ Fioor!Roof Dscking lnvestigai|on- Lago Vista TX
High Drive Foundatien Dispute Resoiutlon- Lago Vista
Highcrest Apartrnents_ Drainage i Trusses - San Marcos, TX
Highway 290 W 33ft Biiiboard- Austin
Hiii Country Apartment F1reiFirepiace Darnage |nvestigation- San Merccs TX
Hiii Country Apartment Foundaticn investigation- San Marcos TX
i-iiiton Hotei Wcod Truss Defect Assessment- Oi<iahcma City, OK
Hoffbrau R'estaura'ntAddition Austin
. Holid ev inn Seiect Loop 410 Retalning WaiisiPorte-Cochere - San Antonio
Ho|idavr inn Seiect Cenopy Wali - San Antonto TX `
Hciioman AFB F117A ivtaintenance DecksiHangars- -Aiamogorda Nivi
6212 Hoiioway Residentiai FoundationiSuparetructure Damsge Repeir- -Austin
H_oiiyvvooci1 V1deo lnspsction. 1050 l35- Georgetown
HcrizonNiiarner Bros Sounci Stage 3 & 5 Structura| Austin TX
Horseshoe Casino Parking Garage Stairs- Bosier City,LA
Horseshoe Casino Stair Tower- Bosier City,LA .
Hunter Construction C_o. Steai Bui|ding Fire investig ation- New Braunsfei's
Hurricane Katrina/Rita Damage Eva|uations- MS, LA TX
12343 Hymeadow investigation Austin
5508 va 290 Se|smic Eva|uation- Austin
ingleside Fieet iv|ine Center- ingleside
ingleside village Apartments- ingleside
international Center for Trade Truss Connect|cns Eagie Pass, TX
J. C. Penny Wai| Coilapse Daiias
Jester Estates Oceanquest Poo| investigation- -Austin
-Joes Crab Shaci< Ftestaura nt Code Vioiations / Hazard Anaiysis- i-.iouston
Jonestown l.ighthouse- Lake Travis .
126 Kittie Lane Foundstion / Dreinage- -Three Rivers, TX
19 Kncb Hiii Circie interim Deci< Repa_ir- Austin
Knox OSSF Fea_sibiiity Studv » Austin
Knuckieheads- Austin
Lake Creeit Village Shopping Centsr- Austin
' 54'1'5 Lakeshore Drlve Rocf Assessment- Lago Vista
24714 Lakeside Cove Structurai inspection- -Austin
Lakewav Churoh Feiiowship Haii - Lakeway
6600 N. Lamar Fire investigation - Austin
1001? N. Lamar RoofStructure Rspair--Austin
1607 S. L_ama`r- Austin
Lamar Craton Truss Coiiapse/ injury- -Aiabama
Lansnire Dupiex Stair Coiispse investigation- -Austin
Lake Austin Riverboat Doci<ing Faciiity- -Austin
Lake Travis Lighthouse .ionestown, TX
La`ite Travis Post Ofiice- Lakeway '
4807 Lake Wicnita Fcunciation i Drainage inv.- Richmond, TX

 

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1010 N. Lamar RoofNVaii Restru_cture - Austin
1420 N. LBJ Dr. VibrationiEnergy investigation - San Marcos
; 10807 Legends Lane Piumbing Lea|t Darnaga - Austin , ,
Lewisvii|e lSD Schoo| Consiruction Denciencv Eva|uation - Lewis_viiie
Light Bsr Addition ~ Austin ; ~ 1 _
1487 Littia Bear Founciatlon Evai'uation - i-iay.s County., TX
LoLa Convaiescent Ctr. Roof Coiiapse investigation .- Austin
|_.Ockheed Maintenanoe Faciiity j Austin 4
:Lockheed i\liissiie Niezzanine - Austin
Log Cabin Structural/Foundatlon - New Mexic'o
13915 Lone Ricier T rail Trusses - Austin
2401 Longview Phi Kappa Psi Temporary Structure 4 Austin
Louisiana State i-Iighway Timber Bridge Coiiapse ~ LA
11620 Loweswater Drainage!Structurai - Austin
Luis Fall f injury f Roof Framlng i Fasteners issue - Houston
606 W. Lynn Condos investigation ~ Austin
ivicCraciten Pool Trussas - Austin
ivioCreary County USP - Kentuci<y
202 E. iviain Restaurant Fire iJarnage Rapair - Round Rock
Maimin Structura| Damage_ Assessment FioodingiDrainagertiiities - Austin
MandaiaviCircus Cir<:us ADA Shower Seat!lniury investigation »- MS
Marbie Faiis Quarry Office Buiiding - Marbie Faiis, TX
711 Niarshaii St. Foundation f i'-‘rame investigation - Houston
819 Mariner Structurai!Foundatlon investigation - Round Rock
703 Niame Ln. nghtning Damage Assessment - Housth
iviasonry Coiumn Ccilapse investigation - Houston - ‘ -.
2518 Maihevvs Balconies 1' Boat Doci< i i-ieiiccpter Pad inv. - Austin
Ma_xweii Car Wash - Taylor -
ivia)nveil Wastewater - Austin
Meadowbrook Gartiens Apartments Designsiinspections _ Caciar Park
Meadowlakes Shopping Center- Marbie Faiis
Medica| Center Automstic Door Cioser Accicient - Bentonvi||e. AR
. Memorial Baptist Churcn Trusses - Kiiieen _ .
_ 'i'vienard BiFold Door Accident investigation ~ Janesviiie,. Wl
Mezz`aiuna North;-` Austin ` ‘
Micron Devices Seismic - Utah v 4
310 Mitche|| 'Foundation / Piumbing ;'- Weatherford, TX
Mississipp| interstate Bricige Coiiapse - l'viS
2004 i".iiiatywood Residentia| `Repairs - Austin
Mcrrow Rcof Member CoilapseiFai| - Birrningham‘ AL
205 W. i’viorse Moisturei'MoldiStorm Wlndows - Fredericksberg` TX
352 Mostyn Ln. Foun_dation f Framing Eva|uation - San Marcos
Motsi 6 BaiconviStairs Rsstructure - Amariiio
Niote| 0 Bs|conyiSteirs Restruciure - 8010 r~i. |35 - Austin
Motel 6 Hurricane ike Damage Evaiuation )‘_ Reconstructlon - Jersey Viliage, TX
Motel 6 i-iurricane Katrlna Darnage Assessrnent - Biicxi, lv'iS
Motei 6 N.iH35 Addit|o'ns '- Austin
iviote| 6 Waikvvavsi$tairs - Topaka, KS 4 '
ivioiel 6 Structurai!Civii Eva|uation - Camp Spn'ngs, MD
Motel _6 StructurailCivii Evaiuation -.1Cranberry, PA
i\liotei 6 fStructuraiiCivii Evaiuation - Moline, iL
MS| Snop Expansion » Kyie
ivit. Oiive Luineren Church Addn. - Austin
Mctorola Bui|ding "'W" - Austin
Moss C.J.C. - Okiahoma City, OK '
Niusaum cf the South\.vest Acoident i' ADA evaluation a Corpus Christi, TX

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' N,A,S. Commissary. - Kingsviiie
Ne'liis AFB Composite Facillty - Las Ve_gas, NV
New Eiitch Ga_rdens Them_e Park - Denver,' Co.
413 New Ledo Swimming Pool investigation - Austin
New Lexington Fayette County Detention Center - Lexing`ton, KY
New 'i`;erritories Shopping Center investigation - San Antonlo
1211 Newton /Austin Motel Reta|ning Wail Collapse Repair Anaiysis .- Austin
19 Nob Hiii Cir'cie Structural Expansion Study - Austin
-North High Schoo| - Carroiton
North Hiiis :Townhouse F.oundation investigation - Austin
North Lamar/Kramer l-_'ane Warehouses - Austin
North Park Hotel Fire/Firepiace/~T`russ Repairs - Austin
1210 Nueces - Veneer/ Deck / Stair Repairs -' Austin
250 Oak Heights Barrier Drain - Wimberiy
Oak Knoil Residential Foundations - San Marcos
Oakwood Schoo| Trusses-. -Coileg_e Station
1080_7 Oasis Foundation Fai|ure lnv. /Negotiation- Houston .
4802 Ocean Drive StructureiNentiiation `-Assessment Corpus Christi, TX
Oiif|eld Road Hwy. intersection Acc|dent/ Dra'inage/ Non~ Licensed Engineer;- LA
O|d Lockhart Hwy Mobii Home Park- Travi_s County
Oiivarez Su_bdivision/Utilities_/Street Coiiapse lnvestigation- ii/icAi|en
Oitorf Oak_s Apartments Cnimney Fire investigation a Austin
One Corporate Center investigation - Austin
, One Liberty Piace improvements - Waco
One Tech Plaza -' Austin
O'yster Landing Boat Docks - Austin
Paieface Grocery - Travis County '
Pairn Vailey Re`tain Stucco l Substrate- Round Rock
Paniagua Truss Col|apseiin]ury- Phoenix,- AZ
12892 Park Art Studio- Austin
Park Centra| Apartments Siair Faii inv.- Daiias
6103 Peachtree Hiii Ct Drainagei Foundation Damage- Kingwood
2212 Peari Fire Damage inspection- -Austin
540 Peoan Grove Boat Deck improvements - Horseshoe Bav _,
Penbrock Apartmen`ts ivlasonry'Veneer Repairs - Austin
Penbrooi< C|ub Apartments Bui|ding 6 Braezeway inspections - Austin
J. C. Penny Bri'ck Veneer Wail Coiiapse - Daiias
Pete Maravich Assembiy Center investigation - Baton R'ouge-, LA
Point Ventur_e Townhouse Mu|ti Bui|ding Structural Assessment "- Point Venture, TX
Precision National Structural investigation- -Waco
Pub|ic Housin'g Faii H'azard lnvestigation- -San Ant|on|o
29384 Raintree- Piumbing / Foundation / Superstructure lnvestigation- Fa|r Oaks Ra_nch
Rayco Fire Retardant invasiigatlon- -San Antonio
RCBS Hospitai HVAC 1' Contract issues- Austin
1913l Reai Catorcs Foundationiz“" Ficor Framing Repairs- -Aust|n
Recreation Sports BuiidingiA&M/Window Wali- Coiiege Staticn ~
Red Robin Resiau rent Air QuaiityiivioistureiRoof)'vvaii Leaits- San Antonio
' Regencv Manor Apartments Structural Walkway Rep|acements San Antonic
Regenis Schooi Water lntrusioniWood Flocr Damage lnvestlgation- -Austin
8910 Research Parking Lot investigation- -Austin
12034 Research High Speed Vehicie Coilision VibrationiEnergy Damage Assessment Austin
R'etano Wastewater System- -Austin
2816 Revere Townhouses Founciation / Superstructure lnv.- Houston
1913 Rio Catorce TJ| Floor Joist lnvestigation~ -Austin
Riv`er Authority Conveyor - San Antonio`
3800 Rivercrest Boat Dock Fe'asibiiity Study - Austin

 

 

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2311 Rogge Ln Swimming P_ooi Leak/Foundat|on Assessment _- Austin 1
Ron'e Celiphone 160 Ft. Guved Tower - Berton Creei<, Austin
Round Rock Express Basebali StandsiRaiis_-- Round Rock
Round Rock Express Cables/Structural Designs ~ Round Rock
Round Rock Express Supports - Round Rock
107'13 RR 620 Rcof Assessment - Austin
12301 Saber Trail Wind Load Stabiiization -. Austin
Sam Bass Road Concrete Pavement A`naiysis:_- Round;Ro'ck, TX
Samsung U.' Project| Beam Connec'tions - Austin ' '
San Antonio Housing Authority v. Magi Reaity - Litigation_ 150 + Houses - iSan Antonio
2200 Scenic Boat Dock Repairs - Austin
16020 Scenic Oaks Trail Flood Anaiysis - Buda, TX f
Schneider Manufactured Home investigation - La Grange, TX
- Secretar|at_ Maso'nry Ar.c_hesl_Drainage - Hayesto., TX
Segefieid Drainage Study -_- Austin
6106 Shadow Mountain Structural Repairs .~, Austin, TX
Sharper image Mezz_anine - Austin
Sheraton Hotel Parklng Gerage Repairs - Austin
Silv'er Pine Poo'i - Austin
. Simplsx. Grinnell Structural Eva|uation - Pf|ugerviiie, TX
` Sir ivor Cove~Swimming Pooi Evaluetion - Austin, TX
419 E. Sixth St. Se_cond Fioor Rehab - Austin
421 E. Sixth S_t. 'ADA investigation - Austin
500 E. Six`th Rehab - Austin
500 E. 6*h Fire Escape Restructure -'- Austin
505_ E. 6_th Structural investigation v Austin
515 E. Sixth Rooi' Framing- Austin
600 E. Sixth Rooi 81 2"" Fioor Framing Evaiua_tion - Austin
723-725 E. Sixth Rehab - Austin
10211 Skyflower Floor Stabiiization - Austin
fsitviight Acoidentai BreakageiFaii i injun; - i\iiission, TX
Skvridge Piaza Structural inspection - Rou nd Rock‘ TX
lSt:iutii Grend Prairie High Schoo| - Grand Prairie
329 South Guadaiupe Water intrusion - San Niarcos
South lake Shopping Center Stairs '- Southiei<el TX
Southiake':Subdivision Sa_nitary Sewer Collapse - Southia_ke,' T.X
_ 120 South Niain Roof Drainage issue - Victoria g l
f South Texas Art Museumf- Structural Barriers l ADA/ injury - Corpus Christi
Soutnwest Nied|cai Park -. Austin
Southwest:Texas State University Bridge - San Niarcos
Southwestern University Flne Art`s investigation - Georget_own
SpsdeabCrete Tiit Wail investigation - San Antonio
702 SpringBrook WetariFioor Truss Damage - Leander
fSt. Paui's Ceihollc Church Adciition. - Austin ,
St. Pete 'i“1mes Forum 'Arena Concre`te Toierances Evaluation -1Tampa Bay, FL
#16 St. Stephens Pooi investigation - Austin
Stair and Guardrail Designs - Sheppard AFB
St. Stephens Sohooil Quinn Ha|l Acidition - Austin
Stahi Roci Condition Assessment - Austin 4 1 _
Stayton Water Damage - Hardwood Fioorlng iPiumbing / HVAC Spe'c. Mediation - Victoria
Steek Vaughn Fioor Structure investigation - Austin ;
119 Stepnens Lane-Wlndow Leakage investigation - Round Rock
Stop and Go Boat Storage inspection - Austin
Stuciio 6 iviota| Sam Houston Parkway Foundation/F|ooding/Piumbjing ~ Houston
Stum Ladder Faii investigation - Arlington _
5353 Sugar Hiii Foundation l Swimming Pooi / Drainage investigation - Housth

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Su mmlt Apartmants Wood Baiconv investigation - San iViarcos, TX

_Suii’imit at West Rim Foundaticn - Austin-

_Sun -Oii ENii F‘ipe Rack - Houston

- Sunchase Condos investigation ~ Austin

Sunchase Unit 102 - Austinl j

Sunfish Wastewater System improvements - Austin

-Sun'nyvaie Condominiums Repiaoement Stairs - Austin

Superstructure Analvsls Riverview Apartments - New Or|eans, LA

Superstructure Anaivsis Shadowiake Apartments - Jefferson Parish

TAiiiiU Reoreation Sports Bui|ding - Coilege Staticn

.Tex-a`s' Department of~ Ban king Structural investigations s Austin

Texas Department of.Corrsctions - Abiiene ` .

Texas Department of Corrections Aiberti Unit - Abilene

Texas Department of Corrections - Beaumont

Texas Department of Corrections '- Beeviiie

Texas Department of Corrections - Ei Pasc

Texas Department oi Corrections - Gatesvilie

Texas Department of'Corre_ctions - Harris Co.

Texas Department of Corrections - Hutchins

Texas Department of'Corrections - Liberty Co.

Texas Department of'Corr`ections - iviitcheli Co.

Texas Department of Corrections - New Bcston

Texas Department of Corrections - P|ainview

Texas Department of-Corrections - Wichita Faiis

Texas Department of Corrections ~ Karnee County

Texas Department of Corrections Tower - Amarilio . _

_ Texas Department of Hea|th Laboratory StairsiGuardralis - Austin
Texas Land 81 Cattie Co. Rastaurant Fire investigation - Richan:ison, TX
Texas Supreme Court Builciings B 81 C ~ Austin
Thexion Road Septic Svstems - Travis County
315 W. -3_5"1 Apartment Foundation!PiumbingiSuperstruowre -» Austin
2909 Thousand Oaks Truss Evaiuation - Austin
2? Tiburo`n Dr. GroundwateriDra|nageiFounciaiion - Hilis of Laiteway
408 Tl|burv Construotlon Deficiencies ~ Austin
9816 Tim ber Ridge Pass Septic investigation - Austin
Timhers Apartrnents Structural 1' Dreinagei Piumbing Evaiuation - San iviarcos, TX
Toit Water Tnaatment Pisnt Design Deiiciency Evaiuation - Seattie
5612 Tom Wooten Drive Fioor TrussesiWater |ntrusioni Bracing » Austin
Tower Carwash Pavementi Bui|ding Water Leaitage Evaiuation - Round Rock
Town Lake Vi|las DrainageiWeter intrusioniStructurai - Austin
TOWTRC Council Training Center EvaiuationiRepcrt - Texas
Twenty-First Street CoC.`ip1i Commons investigation - Austin
Twenty-First Street CoOp Structural Lotts - Austin
U.S. Naval Statlon - lngleside
Unity Citur\ch Structural investigation - Austin
University of Houston Athietic Faciiity - Houston
University of Texas Liie.~‘Heaiih Steei Connectiona - Brownsviile
University of Texas iviemoriai Staci lum Adciitions ~ Austin
University of Texas Residence Don‘n Stairs - Austin
University of Texas Sccoer Stadiurn - Austin

‘ Universityr of Texas'ToweriObservation Deck investigation - Austin
University of Texas West Grandstand - Austin
USP Atweter Code issues --Austln
230 Vaiico Lane - Wail Piumbness i Structural Frarning - Austin

1230 Vaiico - Wail BracingiPiumbness- issues -' Lakewav _

" valley View Apartments Water Break / Structural / Ccndemnation -' Georgetown z

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1602 Vance Circie Drainage / -Foundation Deficiencies - Austin
Victoria Square Rooiing Repair Soope - Austin `
_Viila_ge at Gracy Earms Roof Assessment -¢Aust|n

12600 Wa|iisvi|ie inspection '- Houston

3909 Warehouse` Row Structural/Remediation- Austin

1803 Wanrvick Cove Moisture/HVAC/Structural investigation- Round Rock, TX
Water/ Waste_wate`r No. 19 Waikways and .Guards- Tr'evi,'s Co.
Waterfront Condo Boat Dooks- Austin

Water|oo ice House Ac'iditions ~ Austin

Weberg Furniture Store Roof Co|iapse investigation - Tem pie
Weiis Fargo Bank AT|WParking Lot injurv- Pasadena TX
iWendy's Rest'aurant Ladder investigation San Antonio

1701 West Avenue Structural lnvestiga_tion- -Austin
Westchester Apartments investigatlen- San Antonio

Wes'tern Currency ;T_ower - Ft. Worth

Westmore|and Bridge Co_iiapse investigation - Daiias

v Wlider Seif.Storsge - Aiabama

12606 Wiison St. Apartments - Stalr» Repairs / Upgrades - Austin
Wiiiia'mson County Annex - Tayior,- TX

Wil|ovv Creek Apartments Roof investigation - Ho_uston
Wlmberiv Wastewater Holding Tank - Wimberiy ' '

2730 Winding Bro'oi< Structural/Civil - Austin

6402 Woodhue Foundation/Structura| investigation - Austin
Zone Apartments Swimming Pooi/ Bui|ding Fount`iations - San til/i_arcosl TX.

FOR _OTHER F|RMS:

, Arnerican Founders Office_Buiiding » Austin
American Oil Company No. 1 Ultracracker - Texas City
Austex Food Processing F.aciiity - Austin
Austin: High School improvements -_Austin
Austin‘s Coiony .Wastewater Treatment Piant - Travis County
B_&R instrument Bui|ding - H_ouston
Bain Road iViobl|e Hcme Park .- Travis County
Banister Lane Fiood Coniroi ?- Austin
Bastrop County Bridge - Bastrop
Baxter Residence - iViidland
Bay_ou Bend Townheuses - Midland
Beai Lakehouse Faciiities - Brownwood
Bergstrom AFB improvements - Austin
Bergstrom AFB Sq`uadron Operaticn`s - Austin
Big`Spring High School Remocieiing - Big Spring
B|uebeli Estates N|obl|e Home Park » Travis County ;
Biuebeil Ridg_e Mobi|e Home- Park - Trav|s County
Biuebonnet.Mobila Home Park - Travis County;.
Brackenridge Hosp_ita| Expansion ~ Austin
Breiter Lane Eiementarv School - Austin
Brown Distributing Company improvements - Austin
Brown Residence ~ iViid|and
Brown School improvements ~ Austin
Brownlng Hangar improvements - Austin
»Brushv Creek Bridge - Round Rock
5046 Bu|i Creei< Ofiice Bui|ding.-:Au_stin
. Burieson Residence - i'viidiand
Bus Transit_ Fac_iiity - Austin

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Butcher Mfg. Foam Pane| Testing- Lafayette,; LA
C_ampbell Center Daiias 1
;Capitai _of Texas Piaza Storm Structures- Austin
Casbeer Mlniwarehouse Park- iviidiand
Cat Mountaln Subdivision- Austin
Cedrio's~ iViidiand
Ceianese Chsnnical Company Signage- Houston
Ci_"`tendler Buiiding- -Austin '
;Chariie‘ s Liquor St'ore and Warehouse - Austin
Cheriton Ranch Faciiities ~ Brewster County
Charter Hospita| -.Austin `
fChavv Chase Center Federal Express - Austin
Church of God of Prophecy -` Midiand
Church of The Hon Red_eemer - Austin
Church of The Rock - Odessa
Ciark Residence - Menard
Ciearview Ofii_ce Bui|ding - |Viidland
Ciifton Lutheran Sunset Home - Clifton
Codyl Cattie Company;Restaurant ~ Mldland
._Coffey Residence - Austin
'Colbert Residence Wastevvater - Austin
;Coiiins Residence - Mid|and
804 _Congress Ofiice Buiiding- -Austin
Coors D|stribu`tor Faciiities- Midland
ZCornerstone Apartments- Austin
Courtvard Apartments- iiiiidiand
CreditBanc Buiiding Far West Bivd. s Austin
Creedmore i_viaadows Drainage - Austin
Crascent Piace iifildiand

- Cross~Town Sewer interceptor- -Austin
rCui`ver Road Estatss Moblle Home Park- Travis County
Dairy Queeni N. Lan'lar- Austin
.Davenport Residence- Midiand _
‘Davis Water Treatment Piant Phase il|~ Austin
Deepwater Dociting Faciiities- Kuwait
Devine 'Junior High School .-' Devine
Dobie Junior High School -. Austin
Dole Residence- Midland
Downtown Fire Station- Livingston
Driftvvood Surveying 1' ATS F‘ecan Springs Subdivision Revievv- Austin
Duncanv_iii`e Apartments- Duncanvilie
East.Slde Park improvements - Austin
East_Texaa Puip 81 Paper improvements - Houston
Eightn Street Arms Apartments - Austin
El Chico Restaurant- iviidiand
Elroy Road Mobiie Home Park- Travis County
Emerson Piace iv‘iesonrvl investigation- Mldiand
Enfield Piaza Foundation improvements- A-ustin
Fann Cantiiever Crane #1 - Austin
Far. West;Blvd. Swimming Pcoi - Austin
~Fi`eids Residence- Odessa
First Presbyierian Church- Co|eman
Fisher Sciantific Laboratorles- Atianta, GA
Ft. _Sam Houston Base Faciiities- San Antonio
Ft Sam Houston Commissarv Expansion San Antonio
Forum Shopping Center improvements- -Austin

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Garden City i-iwy. @ FM715 Warehouse - Midland
Garv Job Corps Center- San Marcos

Gattis School Road Conv. Store improvements- Round Rock
Geigy Chemic_a| Ccrporation- Louisiana

?Gethsemane Lutheran Church improvements- Austin ;
Gienwick,Ap_ar`tment Conversion:- University Park

GM S_teakho'use/Congress Ave. ~ Austin

Goforth Vi|lage Wastev'vater Piant - Austin

:Goooh Residence - Midland

Grandview Warehouse - Odessa

Greenviiie Ave. Ccndos/Apar_tments - Richardson
Griff|th Residence - Midland

G`rosev Medica| Bui|ding - _Mi`diand

2000 .Guadaiupe Offic_e Buiiding - Austin

22_0_0 Guadaiupe Off_ioe Bui|ding - Austin

Gu|f States Utillties Pump -Statlon - Mon_tgomery County
Hemphiii Park Apartments - Austin

Henderson Residence - Midland

Henderson Vessei Foundations - Midland

» Henderson iWerehouse - Midland

Hiokory Farms ~ Midland

Hiiiander School Expansion - Midland

Hiiton Hotei improvements - Midland

Hinesiy Res_taurant » Merkel

Hisscm Residence- Midland

Hoildav Hiii Landfiii Midland

Hous|ng, Water and Wastevvater lmprovernents- Kuwait
i.-iuggins Pumping Unit Service Warahouse- Midland
Hun_ter Residence - Midland

ldiewiide Vi|lage - Midland

inverness Condominiums - Bastrop

J`efferson Bui|ding - Austin

Joliyviiie Rd-. Oiiice Bui|ding - Austin

Jonsson A_ddiiio_ns =~Midland

Keiiy AFB Faciiities - -San Antonio

Kennedy Residence -` Midland

La Amlstad R`estaurant - Midland

La Prada Sub'dlvislo_n -. Garia_nd

Lackiand AFB Exch'ange Saies - San Antonio

Lackiand AFB Faciiities - San Antonio

Leokland AFB Poiice Operations - San Antonio
Lackiand AFB Shop Ciothing 81 Equipment - San Antonio

_ Laughiin AFB Air Resous Opns. Btdg - Dei Rio

Laughiin AFB Shop Aircraft Bldg - Dei Rio

Leander Hii|s Water and Wastewater - Austin

Leander Post Office - Austin

Lewis Sign Co. Signage - Austin

Lewisvii|e Apartments - Lewisviiie

Los Patios Restauran_t - Midland _

NicAngus Road Mobiie Home Park i 81 li - Travis County
;-206 Main Buiiding - Midland

Nianchaca Mobii_e Home Park ~ Manohaca

Mathews Eiementary School - Austin

Metro Bui|ding improvements » Midland

Mawhortsr Residence - Midland

Midland High School improvements ~ Nlidianti

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Midland Saving_s Association- Midland
Missouri Street Restaurant- Midland
;iVionopod Structure- Cook iniet,- AK
iviustang Maadovvs Wastewater ~ Austin
1Nai<oosa Edwards Paper F'lant` - Aritansas
Nash Buiiding - Austin; :
Niet'a' s Cafe Addition- ` Midland
North Austin Junior Swimming Pool- Austin
, North Bivd Addn. Office Buiiding Midland
Nor`thchase ll Office Buiiding improvements- San Antonio
O'Donne|ii Residence -' Midland
?Ogde'n Office Buiidings - Austin
Old. Southern ice House - Midland
Oltorf Rd. ;OfficeNVarehousef Park - Austin
O'i_\ie'i|l Barbeque -_ Midland
Pappagaiio Expa_nsion ;- Midland
Parkwcod Apartments - Richardson,
Permian Eiectronics Radio Tower - Midland
Petro-Tex Ne_oprene Piant - Ho‘u'ston
Petroieum Niuseum Centra| Power -' Midland
Pfiugervi|ie High School ~ Pfiugervi|ie
Piney Creek Bridge - Bastrop
P|`antati'on Hiiis - Midland
Piaza Center No. 15 - Midland
Plaza Office Buiiding ‘~'K" - Midland
Pi'aza Shopping Center Buiidings F1 81 F3 - Midland
Piaza Shopping Center Signage - Midland
Poiiard Residence _- Midland
Prlnceton Business Center - Midland
Pubiic Safety Buiiding improvements - ivlldiand
Radio Shack- Midland
Ramsey Medica| Center~ Austin
‘ Ramsiand Residence~ Midland
Re`nner Road Subdivision- Daiias
Richsrdson Apartments Richardson v
Ridgemar Court investment #1 & #3 Condos- Midland
Rodriq`uez Restaurant- Midland
iRoper Warehouse- M1d land
Rowiett Fio'o_d Piane Study - Rcwiett.
Rusk D.enta| Office - Midland
St, June Subdivision -:lVchinney
St.- `iViartin's Lutheran Church - Austin
St Nichoias Episccpa| Church improvements - Midland
St. Paul Evengelica| Lutheran Church - Tayior
Sam Houston State Office Buiiding- -Austin
San Feiipe Nsighborhood Faciiity- Dei Rio
Sancira Street Warehouse im provements ~Austin
Scottsdaie Addition- Midland
Shenandoah Townhouses - Daiias
Sheppard Memoriai Hospiiai improvements - Burnet
8116 Shoel Creek Danta| Center - Austin
7958 Shoai Creek Medicai Office Buiiding - Austin
Shoa| Creek Office Buiiding - Austin
Showcase l -':Midi'and f
Sh`uli Warehouses ~fMidiand
- Six Ranch z Midland County

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Skillern‘s Drug Store - Midland

Siedge Residence - Midland

Smith Residence-- Midland

Smith Buiiding ~ Midland

Smithvl||e Landfiii - Smithvi||e

South Austin Fire Station - Austin

1006 South Big Spring Addn. - Midland

Spicewood Wastewater Treatment Piant - Austin
Stephenson Warehouse- Midland

Sundae Paiace- Austin

Sunshine Camp- Austin

Supe`rior Oi| Buiiding improvements - Midland

Sutton Piace Condominiurns - Midland.

Texaco Ofishore'Drilling Platforms - Houston _
Texas Department of Heaith and iviental Reterdat|cn Austin ,;
Texas Department of Human Resouroes- San Antonio
Thaxton- Coulver Mobiie Home Park Wsstewater Utliities Travis County
Thomason Townhouses- Midland

Timberiine Terrace Office Buiiding- Austin

Town 81 Country Day C_are Faciiities- Austin

Travis County B|ood Bank- Austin

Travis Cou nty Courthouse_ Annex- Austin

Travis County Cou rthouse improvements- Austin
Travis County Counhouse Pedestrian Bridge- -Austin
Travis County Parking Garage~ ~Austin '

Travis Street Low income Housing- -Midiand

Treanor Equipment Co improvements~ ~iViidland

Tres Amigos Restaurant- Austin `

Trinlty Lutheran Home- Austin

Trinity Presi:vterlan Church Additions- Midland

Trinity School improvements- Midland

Turnar Buiiding lmprovements- Midland

Twenty-fourth Street Ooncios- Austin

Union Ha|i BaptistChurch Addn- Liherty Hiii TX
Union Texas Oii Co Extraction Piant- Geismar LA
United State's Embassy- Guyana

University Lutheran Center- Austin

University of Texas Ftegents' Office Buiiding Austin
University ofTexas Harrv Ransom Center- Austin
University of Texas cf the Permlan Basin- Odessa
University of Texas Swimming Faciiiiy - Austin

Vaughn Bui|ding improvements - Midland

2714 W. We|i Warehouse ~ iiiiid|and
Washingtonii\iicGarvev St Warehouses Midland
Water Line i.itiiity improvemenis- -i\/iartindaie

' Water Tower Martindaie

Water Tower Renovation- Midland

W`eatherford Landfi|i -. Buda

Western Sizzler S_teakhouse- Midland

Westgate Business Center- iviid land

Westgate Aores Seotion 2 SubdivieioniUti|itieleeveiopment- Midland
Westgate Mlnivvarenouse Deveiopment- iviidiand
:Westiake High School lmprovements- -Austin
Westminister. Nianor Additions- Austin

3000 Westrninister Residence- Daiias '
Westminster Prespyterian Church |mprove_ments- -Austin

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Wild River Canyon Park - Midland

Wi|_son Bui|ding - Nl|d|an`d

Win_dmi|l_ Hlll Apartments - San Antonio

Wineton Swimming Foo| Faci|¥ty -,Mld|and

:Wood|ends Street. Bridge 81 Draina'ge Faci|ities ~' Wo`od|ands
Yancey Res|dence- Midland

Y. W C. A |mprovemenw- Rlchardson

Young Vehic|e Storage Feci|ity- Midland

Zoiier Residenoe- Midla nd

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BTRUBTURAL COLLAPSE EVALUATION
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Case 7:15-cv-OO465

    

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Educutiom

Document1-9 Filed in TXSD on 11/06/15 Page 23 of 55

.Bradi`ord Russell, AIA, P.fl?..
Director of Aroldtechu'e/ Engineering
BR. Architects, lnc.

Southern Metllodist University~, Dallas, Texas
Curreutly `Wri'tiug PhD

' University of Texas at Ai'lington

M,`aster of Englneering in Clvi\ / Structural Engineermg

Texas Tech University, Lubbock, Texas _
Bache`lor- of Arc'hitectu_re, Tau Sigma Delm Hon'or Sociecy,
Baehelor of Sclence in Ci'vil Engineering, Tau Beta Pi Hon'or
Soc.iety, Chi Bpsilon Honor Society

Professional Registration:

R.egistered Architect, State ofTexas

Registol’ed Architect, S.tate of Oklahoma

Registered Profes¢iona'l~ Bngineor, Stato of Texas

Registered Proibss`ional Bnginoer, Stato of Oklahoma

Ceni{ied to practice Structural Engineering by the Suuoim‘al Enginooring
Certit’lcat'ion Bom'd (SECB)

Rogisterod Accessibil-ity Spccia|ist

National Counoil of Architectural Registration Boards (NCARB)

NCAiRB Seismic'M'i'cigotion Monograph

NCEES tile holder

NCEES lntornationa,l Reg'istty Certit“xc_ato holder

LEED Accredited Pro.fessional

CalEMA Safety Assossmont .?ro'gram card holder

Texas Depa;¢irient_ of Insurance - Engineers Appointed to Perfom
Windstorm lnspectiona

Pro't`cssional Afdliatlo_ns:

Daiias Ci\apter AIA,

Texas Society of Architecte»

Amorican Insti.tuto of Architects _

Amcrican Sociecy of C.`rvil Enginoors

Structural Engineering Institute

Structural Engi'neering Association ofTexas

US chon Building C_ouncil

Grouter Dallas leming Council, Board Member

Profesaiooal Orgauizntion Posltions:

IDallas Chapter AIA,
Past Small Firms Committee Chuir
PastConsm1ction Induatries Aff`airs Co-Chair

BR ARCHITECTS, lnc.

2007 N.Coll\nsB\vd.,Suite 507 ¢ Riohul'dson,'l`exlm75080 0 P(972) 235.-9308‘ ¢ P(.972) 235~9388

 

 

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Project Restuno
Bradford Russell, AIA, P.E.
BR Architects, Inc.

Deoember 2013
Page 2 of 9
National AIA
Past Executive National SFRT Committee Co~Chair
Past Member Boand Knowledgc Committee
Past President Dallas Structural Engineoring Associal;ion of Texas -
SEAoT
Cun'ent SEAoT Chair to Stmoturai Bngineeri.ng Emergenoy Rosponse
Pian (SEERP)
Current SBAoT/ AIA Liaison
Pending Patent:
Patent Applioation No.: 13/969,529
Patent Titlo: Load Bearing Structural Asscmbly 4
A Load Bearing Structural Assembly is created to transfer and absor
loading between parts move evenly and efficiently
Selectcd Publlcatlons:
2000 .‘Columns - Monthly Publioation of the Dallas Chapter of American
lnstltuto of Architects’ - The Psychology of Architectural Spaco,
December.
2005 'Dallas / Fot‘t Worth Construction News' - Green dcsign, lflexible
environments, enhanced roadways among current trend - editorial
. interview, Soptember.
2006 ‘Dallas Office & Commercial - Real Estate Magazlne’ - ‘What Next?',
' Issue 4.
2009 ‘The Structural Engineer - A Publication efthe Structural Engineers
Association oi"l`exas’ - Green Materials to Offset Seismio and Othor
Natural Disaster Evente, Spring.
2009 ‘The American institute of Architects Chicago Chapter - Changing Times
/ Timo for _Change’ - The Use of Green Materials in the Construction oi"
Bui|dings' Strucmre, September.
2013 ‘Pre-Cast Menufaoturer Association of Texas - yearly membership
publication’ ~ What happens to the structure when it is created as art?,
September.

Litigation Cousulting:

2008-2012 Uncler contract with TBAE for reviewing and consulting on the
Architectural and Sttuotuml Engineering litigation related issues of
statutory provisions and rules enforced by the Board. This consulting

_ includes competence and/or legal authority of the design professional to
perform services noted as well as other issues.

BR ARCI'HTECTS, Inc.
2007 N. Colli\'ls Blvd., Suile 507 1 Rlchardeon. Toan 75080 0 P (972) 235-9308 ¢ F (972) 235-9383

 

 

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Projeet Resume

Brudfotd Russell, AIA, P.E.

BR Architects, Ino.

December 2013
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2003-2014

Various Architectural and Sttuctutal Enginecring litigation consulting
concerning various intcr~discipline issues of practice. Various
Atohiteotutal and Snuctural Bngineering project failure investigations -
various building types

Representative Projects (Condensecl llst):
Buiiding Forenslc luvestigatlon:

2005 -- 2014

2011

2010

2007

. 2007

2007

Hotei Design:
2006

2003

Va1ious multi-story building investigations on elevator failures '
(Arcliitectural and Structural) van'ous locations through the southeast/
west- A1chiteotural Investigation and Reporting, and Structutal
Enginoel` ing investigation and 1cpo1' ting.

DART retaining wall failure building impact investigation, Irving, Texas -
12,000 sq.i"t, building adjacent to DART retaining wall experienced
structural failures in foundatioo, paving, roof framing, exterior concrete
panels ctc. - Structural Ertginoeting Investigation and Reporting.

Greenviiie Auenue Historic Buiiding fire damage tonovation, Daiias,
Texas - 11,000 sq. ft. building footprint, 3, 100 sq. ft. 2"Ll floor menzanine,
6 500 sq. t`t roof top mezzaninc- Structural Bngineoring Design and
Doculnontalion- $l ,,000 000 estimated oonstmction cost

Robett Lynn Commercial Real Estate Services, Daiias, Texas ~ 151 Regal
Row - 180,000 sq.t`t'. warehouse structural forensic investigation -
Structural Engineering lnvestigation and Reporting.

WellsRElT / Emcor, l1'ving, Texas- 6333 N State Highway 161 -
stmotuial investigation For various building Failut'os including garage
extetior wall joint exterior retaining wail, entol 101 pnnei, eto.- Str.ucturnl
Engineering lnvestigati on and Repm ting.

JP Morgan Chasc, Dallas, Texas - 6300 Hurry Hines - approximately
30,000 sq.l”t. investigation of multl-story building - structural capacity
investigation i"or. increase in floor loading ~ Structural Bnginoet'mg
lnvestigation and cherting.

Courtyard by Marriott, Waco, Texas - 4,000 sq. it stiuctural remodel -
wood name, wood ttuss, wood lateral support »~ Strt:r.ctural Engineering
Design, Documentation - $350,000 construction cost

Amorlhost lnn Hotel, Gun Ban'el City, Texas - '?5-,000 sq. ft. structural
engineering tlt.u=.igx't1 wood frame, steel and wood lateral support, concrete
foundation - Structural Engineering Design, Docurnontation ~ $5.8 million
construction oost.

BR ARCH[TEC'|`S, lnc.

2007 N.Collins Blvd.,SuiteSO'i 0 Rlchtu'tlsou, 'l`oxa1175080 0 P(972)23$-9308 d l~`(972) 235-9388

 

 

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Project Resume
Btadford Russell, AIA, l’.E.

BR Architects, Inc.

Decembcr 2013

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1999 Bisdfotd Home Suitcs, Daiias, Houston, Nonh Park, Texas ~ 85,000 sq. ft.
to 109,000 sq. ft. structural engineering design, wood ti‘amc, post tension
parking and foundation- Structural Engineering Design, Documentation -
$5.6 million construction cost.

Commcrclal Design:

2003 Infonnatics, Inc., Plano, Texas - 35,000 sq. tt. office / Warehouse - tilt up

construction, steel joist, and concrete slab on grade -'- Architectnral
Design, Prcduction and Managemcnt - $2.7 million construction cost

2003 ESI, Inc., Piano, Texas - 20,000 sq. ft. office / warehouse addition to
existing facility » tilt up construction composite steel beam concrete floor,
and concrete slab on grade - Architectural Design, Production and
Mansgoment - $1.8 million construction ccst.

2010 Gold Metai Recyclers, Dalias, Texas - 10,000 sq.ft. office addition into
existing metal building, wood, steal, and concrete - Architectural and
Structural Engineering Design, Documentation ~ $0.65 million
construction ccst.

2010 RTVF, outas, rean - 6,000 sq.n. foote-1111 with 6,000 sq.n. 2"d near
office rcconstruct, wood, steal, and concrete - Architectural and Structural
Eagineering Design, Documentation - $0.75 million construction cost

2005 HSR Plaza Phase ll, Carrollton, Texas ~ 14,000 sq. ft. professional office
building, wood, steal, mascmy, and structure - Architectural and
Structural Engineering Design, Documentation ~ $1.4 million construction
cost.

2014 Modern Forge Texas Officc, Hurst, Texas - 5,000 sq.it. regional
manufacmn'ng ofiics bullding, steel frsme, masonry, EIFS, and structure »
Architectuiul end Suuctural Bngincering Design, Documentation » $500

thousand construction cost.

Industrlsl Desigu:

1996 Jupiter 190 Buiiding 4, Daiias, Texas - 200,000 sq. tt. warehouse using tilt
up construction9 steel joist, and concrete slab on grade - A1chitcc1ursl
Desigo, Production, end Management - $'7 million construction cost. v

1996 Excel Warehousc, Addison, Texas - 200,000 sq. ft. warehouse using tilt

up construction, steel joist, and concrete slab on grude- Ai'chitcctural
Design, Production, and Mens.gemcnt - $6. 6 million construction cost.

2005 Atlss Copco Oi`ficc, Gsrland, Tcxss- 2 000 sq. it addition to drilling
ssscrnbl moss - steel frurnc, composite floor 2"*'j floor, concrete slab on
grade l' f`iooi- Mchitecwrul Design, Ploduction, Structural Bnglneei'ing
Design, Production ~ $500,000 construction ccst.

BR Ancul'rt\:c'rs, 111¢.
2007N.c0111ns131vd.,sultcsov ¢ Rtehecsm,"rwsvsosc ¢ P(972)235-9308 ~ r(ovz)z:ts-ssss

 

 

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Project Reeume

Bmcli"ord Russell, AIA, P.E.

BR Architects, Inc.
December 2013
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Retall Design:
2005

2004

1999

Whitetail Nurseries, Mcsquite, Texas - 17,500 sq. ft. flower growing,
distribution and retail ~ Architectural Design, Produotion, Structural
Engineoiing Design, Prodnction - $850,000 construction cost

Fami_ly Dollar Retail / Offico, Garland, Texas - 9,000 sq. i`t. retail / office
using CMU load bearing masonry, steel joist, and concrete slab on grade -
Architecmral Design, Production, and Managemont, Structural
engineering Dosign, Production, and Mgmt. - $800,000 construction cost.

Waigreen’s Retail Storc, P|ano, Texas - 14,000 sq. ft. retail store with all
amenities - steel framing, tilt up walls -Structural Engineering Design,
Project Managemont ~ $1,200,000 construction co st.

Entcrtainment Design:

2006

2004

1993

Paciugo ice Cream, Frisco, Texas - 4,000 sq. it. interior iinish out of shell
structure, dining, lcitchen, rest rooms, and other amenities ~ Aiohitectural
Design, Documentation, Projth Management ~ $400,000 construction
cost,

Riok's Kioks Ma\tial Arts Studio, Frisco, Texas - 5,000 sq. it. martial arts
studios, office, video room, and other amenities - stone / brick veneer,
wood frame, steel support, wood lateral resistance, concrete foundation -
Architeolural Design, Production, and Management, Structural
engineering Design, Production, and Mgmt. - $550,000 construction oost.

The Balipark in Arlington, Ax'lington, Texas - $191 million structure, stch
framed, masonry veneer, concrete foundation - Architectural Consti'uetion
Adminisu'ation, Structural Engineering revisions during consnuction.

Governmental Design:

2010

Municipai Designz
20 10

2001

Red River Anny Blast Booth, Texarkana, Texas - 10,000 sq.ft. blast booth
for equipment repair and- cleaning - Structural Engincering Design and
documentation - $800,000 construction cost.

City of Richardson Fire Station, Richardson, Texas - 2,500 sq. it. metal ,
storage building addition to existing fire station - Architectural Design, ,
Consuuotion Admlnistration, Structural Engineering Design and
Documentetion - $75,000 construction cost

Southern Hunt County Community Center, Quinlan, Texas ~ 9,800 sq. ii‘.
steel framod, masonry exterior \~ gymnasium, recreation areas, l<itchen, and
offices - Architectural Design, Production and Management - $880,000
construction cost.

BR ARCHITECTS, luc.

2007 N. Co||i\\$ Blv<l., Suite 507 d Ricliardson,'l`exas 75080 0 P (972) 235-9308 v F (9'72) 235-9388

 

 

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Project Resuine

organic nuss¢u, Arr., P.E.

BR Architects, Inc.
Deoembor 2013
Pago 6 of9

1999

Richardson Senior Citizcns Center, Richardson, Texas - 3,000 sq. ft.
addition, 12,000 sq. i’t. interior remodel and iinish out - Architectural
Design, Managcment and Construction Adniinistrntion - $900,000
construction cost.

LEED Projccts (in Progress):

Green Projects:
2008

2006

2006

2002

Restaurant Doslgn:
2007

2003

Fort Hccd Farnily Housing, Forr i-lccd, Texas - 8\000 sq. ft. Ccmmunity
Center - single story LEED Silver - Structural Enginccring Design,
Pioduction, Ccnstructicn Administration, LEED Consulting - $1,500,000
estimated construction cost.

McKinney Aero County Aitpoit, Mcl(iuncy, Texas -6.300 sq. i’c. interior
finish out / icmodei of existing county airport into weekend residence /
cities ~ Architectural Design, Producticn, Ccnstructicn Adinlnisnntlon,
Vericus Structural Bnginecring Design and Docuincntatlon - $530,000
construction cost. '

Colorado Blvcl. Residence Rernodol / Additicn, Dallas, Texas - 5,000

sq. ft. lemoch and addition - wood ii~snied, concrete/brick foundation
early 1900’9. residence design by rcnowned Louisiana architect -
Architcctural Design, Structural Engineering Dosign, Docuincntation, and
Managcment -- $630,000 construction oost.

Crlstina’s Fiowcrs, Plano, Texas - existing home ndditionf conversion to
10,000 sq. ft. flower distribution and retail - Architecth Dcsign,
Prcduction and Construction Administrstion - $600,000 construction ccst.

Pizza I-Iut - Fiisco Soccer & Entertainmenthmplex, Frisoo, Texas -
6,$00 sq.f`t. dining, kitdicn, rest rccrns, and other amenities - Project
Management, Structural Engincerlng Design - $550,000 construction cost.

Clieddars Rcstaux‘ant, Arlingtcn, Texas - l 1,500 sq. i’t.

dining, kitchen, ofiico, rest rocms, and other amenities ~ steel froming,
load bearing CMU, spread and continuous foctings, stone veneer - Pioject
Manageinent, Strucuu'ai Englnccring Design - $1.0 million construction
cost.

BR ARCHITEC'I`S, ll\c.

2007 N. Collins Blvd., Sull:e 507 0 Ri¢hal'<lson, Texas 75080 0 P (972) 235-9308 ¢ l"` (972) 235-9388

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Projeot Rcsuine

Bradford Russell, A1A5 P.E.
BR. Architects, Inc.
Decernber 2013

Page 7 of9

1999 Chucitie Checse Restaurant, Burnsville, Atizcna -» 11,000 sq. ft.'
dining, lcitchen, ofiicc, rest rooms, and other amenities ~ Projcct
Management, Structural Engincering Design - $1.0 million construction
cost.

Multi-family Design / Management:

2007 TownParc Apartment Complex, Amarillo, Texas - 150 units, 270,000 sq.
it. apartment complex - Structural Construction Managoment/
Obscrvation - $20 million construction cost.

2007 CityParc at Golden Trlangle, Fort Worth, Texas - 312 units, 370,000 sq.
ft. apartment complex - Structural Construction Management/
Obsorvation ~ $30 million construction cost.

1997 Arbors of Denton Apartment Complex, Donton, Texas - 244 units,
180,000 sq. ft. apartment complex - Architeciuinl Design, Productlon and
Managcment - $9.8 million construction costa

1996 Hobby House Apartment Complex, Austin, Texas - 200+ units apartment
complex - Architectural Design, Picduction and Managctnent - $8 million
construction cost.

Religious Dosign:

2000 Crosspoint Church, McKinney, Texas - 20,405 sq. ft. worship center -

classroom space, kitchen, and support spaces with phased master plan -
Architectural Design and Construction Administration - $2.5 million
construction cost.

2000 Christ United Methodist Chutcli, Plano, Texas -- 30,411 sq. ft. classroom
education building with support spaces - Architectural Design and
Construction Administration - $3.3 million construction cost.

2010 'I`rinity Prosbyterisn Church, Plnno, Texas "- wind storm dainage/ steeple
icplacement - Architecuxral Design, Construction Administration, and
Structural Enginecring ~ $50,000 construction cost.

Educatlonal Design:
2003 K. B. Polic Elementary School, Daiias, Texas - 35,000 sq\ it. classroom /

office addition - concrete and masonry construction, steel frame roof,
Amliitectut'al Design ~ $3.5 million construction cost.

1998 Brownsville High School, Brownsvillc, Texas -- 70,000 sq. ft. education
building -steol i`rame, CMU non-load bearing walls, concrete foundation »~
Structural Bngineering Design ~ $6 million construction cost.

BR ARCl‘ll.'l`ECTS, Inc.
2007 Nl Collins Blvd., Sultc 507 ¢ Richardson. Texas 75080 l lt (972) 235“9308 ~ F (972) 235-9388

 

 

Case 7:15-cv-OO465 Document 1-9 Filed in TXSD on 11/06/15 Page 30 of 55

Project Resume

Brad ford Russell, AIA, P.E.

BR Architects, Inc.

December 2013

Pngc 8 01"9

Med!cul Desigu:

2006 Heaitny Paws Veterinsry Center, Litrie Elm, Texas - 1,600 sq. tt.
veterinary exam rooms end offices to an existing 4,500 sq. i`t. veterinary
exam room huilding, wood frame structure »~ Architecturul Design,
Documentntion, Structural Engineering Design, Documentation,
Construction Administrution ~ $250,000 Construction Ccst.

1997 Aubum Mcdical Office Buiiding, Auburn, Washington - 70,000 sq'. ft.
office building for physicians, reinforced concrete and CMU structure --
Structural Engineering Design - $10.5 million construction cost.

1997 Bristol llegioonl Medical Centcr, Bristol, TN- 100, 000 sq. fl. medical

facility romoticl addition - Architect, Construction Administrator- $9. 8
million construction cost

Intorior Remodel / Design:

2010

2007

2002

2000

Greeni‘iel_d Foose office remodei Dallas, Texas - 25, 000 sq ft. building

foot print with 6 000 sq.ft. 2“ floor interior rcn‘roclel of existing metal

building space into office epsce- Architecturrrl Design Produclion,

and various Structural Engineering $l, 300, 000 estimated construction
c.ost

RoughRiders Merclrandise Pavilicn, Fn`sco, Texas- 4, 000 sq. i"t. interior
finish out ofexisting space into retail space- Architectural Design,
Production, and Construction Adrn‘rnistcation $340 000 construction cost.

The Centre for Dancc, Richardson, Texas - 10, 000 sq. ft. interim finish-
out of existing office space into dance studio, ofticos, kitchen, runooms -
Arclriteetural Design, Production and Construction Administrs.tion -
$300, 000 construction cost.

Randstsd North America, Formcrs Branch, Texas - 4,200 sq. ft cffrces,
restrooms, conference rooms, interior finish cut - Architeciurul Design
end Construction Admin'rstrotion - $180,000 construction cost.

Exterlor Remcdel_ / Design:

2007

Galleria Nortlr, Dalles, Texas - 70,000 sq. ft. floor area exterior veneer
redesign- Arelritectural Design - $1.5 million construction cost.

Various Unlque Arclritecturril & Structural Design:

2007

` Routlr Street W`me Cellar', Dailas, Texas - 450 sq. it. underground wine

cellar - Structural Engineering Design, Documentation, and Managoment
~ $IO0,000 construction cost.

BR ARCH|TECTS, Inc.

2007N.C0|llns Blvd.,Suite 507 ¢ Rlolrardson,'l'oxas 75080 l P(972]235~9308 ¢ l"(972) 235-9388

 

 

Case 7:15-cv-OO465 Document 1-9 Filed in TXSD on 11/06/15 Page 31 of 55

Project~Resume

Bradl’ord Russell, AIA, P.E.

BR Architects, Inc.
December 20 l 3

Page 9 of9
2006

2006

2006

Watermark Lund Development, Wylie1 ‘I`exas - 500 t`t'. - Entt'y Water
Featur'e - Structural Engine'ering Design, Documsntution, and
Managcment - $800,000 construction cost.

Hilton 'I`ulsa Southern Hills, Tulsa, Oklahorns - 2,500 sq. ft. - pool
enclosure addition to existing concrete structural frame ~ Structural
Bngineering Veriiication, Design and Managemont ~ $100,000
construction ccst.

Residential B>tercise Pavilion Saudi Arsbian Princo, Dallas, Texas - 500
sq. fl., addition -- wood framed structure over concrete foundation built into
hillside - Architectural Design, Structural Engineering Design,
Documontation, and Managemcnt - $130,000 consuuotion cost

BR ARCH|TEC'[`S, lnc.

2007 N.Colllns Blvd.,SulteSO‘l o llichardson,’l`exns75080 0 P(972)235-9308 ¢ F(972)235-9388

 

Case 7:15-cv-00465 Document 1-9 Filed in TXSD on 11/06/15

Documents Revlewed by Experts

Page 32 of 55

 

1.

ERO
ERO Assessment Co ntract:
Nlarch 30, 2008
ERO Assessment Report, 2008 (a nd attachments from sub-consultants);
ERO - PSJA Architect Contract
Architectural P|ans & Speclfications
Project l\/lan.ua|

Frank Lam & Associates
September 30, 2009 Report
Structural P|ans

October 18, Report

Descon

Descon - PSJA Construction Contracts
Phase |
Phase ll

Change Orders/Change Directives
Phase |
Phase ll

PSJA

Minutes of Board l\/|eetlngs
Photographs

P|aintiff’s Amended Petltion

Third Partles

Rimkus Report of Structural Co||a_pse
lanuary 21, 2011

lVlarch 8, 2011

Delta Structural Techno|ogy Inc. Report
Co|umn Repalr and Strenghten

 

Case 7:15-cv-00465 Document 1-9 Filed in TXSD on 11/06/15 Page 33 of 55

October` 26, 2010

Garner Consultlng Group
Slte Visit Report
lVlarch 28, 2011

Raba Kistner Consu|tants, |nc.
Geotechnica| Report

Aguirre & Patterson, Inc.
lrene B. Thompson

Appraisal Report (Stambaugh land Textbook Bldgs)

 

Case 7:15-cv-00465 Document 1-9 _Filed in TXSD on 11/06/15 P§Q}§tr§r§rcgty§§ed

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Reviewed By: C|audia Rodrlguez

CAUSE NO. C-5149-l4-H

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT
Plaintiff

IN THE DISTRICT COURT

§
§
§
§
§
Vs. §
§ HIDALGO COUNTY, TEXAS
TEXAS DESCON, L.P., DESCON 4S, §
L.L.C. and ERO INTERNATIONAL, §
L.L.P. d/b/a ERO ARCHITECTS §

Deféndants §

389th JUDICIAL DrsTchT

 
 

     
 

 

 

PLA.INTIFF PHARR sAN J“UAN AL
cERTIFICATE

AMO INDEPENDENT SCHOOL DISTRICT’S - -
OF_WRITTEN DISCOVERY

 

        
    

 

 

 

 

 

 

l certify that on the 12th day of June, 2015, I served the following discovery instruments on
opposing counsel of record by via certified mail, return.receipt requested, pursuant to the Texas
Rules of Civil Proc_edure:

1. Plaintiff Pharr San Juan Alamo Independent School District’s Combined First
Set of Interro`gatories, First Request for Production, and First Request for
Admissions to Defendant Texas Descon, L.P.; and

2. Plaintiff Pharr San Juan Alamo Independent School District’s Combined First
Set of Interrogatories, First Request for Production, and First Request for
Admissions to Defendant Descon 4S, L.L.C.

Respectfully submitted,

THE J. RAMIREZ LAW FIRM
Attorneys at Law

Ebony Park, Suite B

700 North Veterans Boul'evard
San Juan, Texas 78589

Phone': (956) 502-5424

Fax: (956) 50;2;9%
By:
JESUS RAMIREZ
SBN 16501950
ROBERT SCHELL
SBN 24007992

 

ATTORNEYS FOR PLATNTIFF
PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT

Plaintiff Pharr San Iuan Alarno lndependent School District’s Cenii`rcate of Written Discovery Page l of 2

 

Case 7:15-cv-00465 Document 1-9 Filed in TXSD on 11/06/15 P§ge 35 qf 55
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Hida|go County District Clerks
Reviewed By: Claudia Rodrlguez

CERTIFICATE OF SERVICE

I, ROBERT SCHELL, certify that on the 12th day of June, 2015, a true and correct copy of
the foregoing Plaintiff Pharr San Juan Alarno Independent School District’s Written Certifrcate of
Discovery Was served via certified U.S, Mail, return receipt requested and via Email on the
following counsel of record:

Vr'a Cerrr°.frfed Mm°i,

grimes Regg`;_)t Reg_r_rested No. 7015 0640 0006 9943 773-4
And Emar°l: s‘egiwards@}tudg_in.r-igw.com

Spencer Edwards

THE HUDGINS LAW FIRM

A PROFES SIONAL CORPORATION

24 Greenway Plaza, Suite 2000

Houston, Texas 77046

Via Certif`g‘ed Maii,
Rerum Receipr Regge.rre_d No. 7015 0640 0006 9943 7791

and Emar'£: ribsrrg`anrin{o)éuuiawsrr.com

David P. Benjarnin

BENJAMIN, VANA, MARTINEZ & BIGGS, LLP
2161 NW Military Highway, Suite 111

San Antonio, Texas 78213

Via'. Certz'§eri Maii,

giant Recgg'p! Reque.rr‘et_i_No. 7015 0640 0006 9943 7807
And Emgi!: mbc@grr[)ia w.com ~

Matthew B. Cano

Sara Whittington May

ALLENSWORTH AND PORTER, L.L.P.

100 Congress Avenue, Suite 700

Austin, Texas 78701

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ROBERT SCHELL

Plaintiff Pharr San Juan Alamo Independent School District’s Certif`rcate of Written Discovery Page 2 of 2

 

Case 7:15-cv-OO465 Document 1-9 Filed in TXSD on 11/06/15 P§g§r§n§CM/§l§d

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Hida|go County District C|erks
Reviewed By: C|audia Rodriguez

CAUSE NO. C-5149-14-H

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT
Plaz'ntijj"

IN THE DISTRICT COURT

vs.

HIDALGO COUNTY, TEXAS

TEXAS DESCON, L.P., DESCON 4S,

L.L.C. and ERO INTERNATIONAL`,

L.L.P. d/b/a ERO ARCHITECTS
Defendants

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339th JUDIclAL DISTRICT

 

PLAINTIFF PHARR SAN JUAN ALAMO INDEP_ENDENT SCHOOL DISTRICT’S
CERTIFICATE OF WRITTEN DISCOVERY

I certify that on the 12th day of June, 2015, I served the following discovery instruments on
opposing counsel of record by via certified mail, return receipt requested, pursuant to the Texas
Rules of Civil Procedure:

PLAINTIFF PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT’S
COMBINED FIRST SET OF INTERROGATORIES, FIRST REQUEST FOR
PRODUCTION, AND FIRST REQUEST FOR ADMISSIONS TO FRANK LAM &
ASSOCIATES, INC.

Respectiiilly submitted,

THE J. RAMIREZ LAW FIRM
Attorneys at Law

Ebony -Park, Suite B

700 North Veterans Boulevard
San Juan, Texas 785 89

Phone: (956) 502-5424

Fax: (956) 502-5007

By: '%/M
JESUS RAMIREZ
SBN 16501950
ROBERT SCHELL
SBN 240()7992

ATTORNEYS FOR PLAINTIFF

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT

Plaintiff Pharr San Juan Alamo Independent School District’s Certit`lcate of Written Discovery Page 1 of 2

 

Case 7:15-cv-OO465 Document 1-9 Filed in TXSD on 11/06/15 P§g§tr§r?ic%§§ed

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Hida|go County District C|erks
Reviewed By: C|audia Rodriguez

CERTIFICATE OF SERVICE

I, ROBERT SCHELL, certify that on the 12th day of June, 2015, a true and correct copy of
the foregoing Plaintiff Pharr San Juan Alarno Independent School District’s Written Certificate of
Discovery Was served via certified U.S. Mail, return receipt requested and via Email on the
following counsel of record: `

Via Cerfi{wd Mm`£,

Return Kece¢'gt Reguested No. 7015 064() ()006 994'3 7753
and Emal'{: mbg@gapfaw.cvm

Matthew B. Cano

ALLENSWORTH AND PORTER, L.L.P.

100 Congress Avenue, Suite 700

Austin, Texas 78701

Vt`a Cer!£f¥ed Mait,

Retum Receigt Requested No. 7015 0640 0006 9943 7760
and Ema!`!: sedwardsga)fmdgins-lmv.com

Spencer Edwards

THE HUDGINS LAW FIRM

A PROFESSIONAL CORPORATION

24 Greenway Plaza, Suite 2000

Houston, Texas 77 046

Via Cert£ led Mail

Retu_ilr Rece:°pt Reauested No. 7015 0640 0006 9943 7777
and Email: dbenfamin@£enlawsa.crim

David P. Benjamin

BENJAMIN, VANA, MARTINEZ & BIGGS, LLP

2161 NW Military Highway, Suite 111

San Antonio, Texas 78213

'¢%

ROBERT sCHELL `

Plaintiff Pharr San Juan Alamo independent School District’s Certit`lcate of Written Discovery Page 2 of 2

 

Case 7:15-cv-OO465 Document 1-9 Filed in TXSD on 11/06/15 P%gee 38 oty§§ed 4

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Reviewed By: C|audia Rodriguez

CAUSE NO. C-5 149-14-1`-1

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT
Plaintijj‘"

IN THE DISTRICT COURT

vs.

HIDALGO COUNTY, TEXAS

TEXAS DESCON, L,P'., DESCON 4S,

L.L.C. and ERO INTERNATIONAL,

L.L.P. d/b/a ERO ARCHITECTS
Defendants

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389"' JUDIclAL DISTRICT

 
 

     
  

PLAINTIFF PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT’S
CERTIFICATE OF WRITTEN DISCOVERY

     

I certify that on the llth day of June, 2015, I served the following discovery instruments on
opposing counsel of record by via certified mail, return receipt requested, pursuant to the Texas
Rules of Civil Procedure‘.

PLAINTIFF PHARR SAN JUAN ALAMO INDEPENDENT SCHOOL DISTRICT’S
SECOND SET OF INTERROGATORIES AND REQUESTS FOR PRODUCTION
TO DEFENDANT ERO INTERNATIONAL, L.L.P. D/B/A ERO ARCHITECTS

Respectfully submitted,

THE J. RAMIREZ LAW FIRM
Attorneys at Law

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700 North Veterans Boulevard
San Juan, Texas 78589

Phone: (956) 502-5424

Fax: (956) 502-5007

we

By: _ “M
JEsUs RAMIREZ
sBN 16501950
ROBERT scHELL
sBN 24007992

ATTORNEYS FOR PLAINTIFF

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT

Plaintiff Pharr San Juan Alamo lndependent School District`s Certit`icate of Written Discovery Page 1 of 2

 

Case 7:15-0\/- -00465 Document 1- 9 Filed in TXSD on 11/06/15 Paque 39. fy§§ed

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Reviewed By: C|audia Rodriguez

CERTIFICATE OF SERVICE

l, ROBERT SCHELL, certify that on the llth day of June, 2015, a true and correct copy of
the foregoing Plainti_ff Pharr San Juan Alamo Independent School District’s Written Certificate of
Discovery was served via certified U.S. Mail, return receipt requested and via Email on the
following counsel of record:

Via Certi{red Mrn‘ll

getter Receir)t ReUsterI No. 7015 0640 0006 9943 7Zg£
,ii_r_:_d En_l_¢_zi!: dbenjamin@§en!awsg.com

David P. Benjamin _

BENJ'AMIN, VANA, MARTINEZ & BIGGS, LLP

2161 NW Military Highway, Suite 111

San Antonio, Texas 78213

Via Certiiied Mail,

Return Reccint Reque$§l No. 7015 0640 0006 9943 7739
/in_d Em¢_x£mbc@gagc'aw.com

MatthewB. Cano

Sara Whittington May

ALLENSWORTH AND PORTER, L L P.

100 Congress Avenue, Suite 700

Austin, Texas 78701

Via Certit`ied Mail,

Return Receipt chuested No. 7015 0640 0006 9943 7746
/Ln_¢§ Emgil: sedwan_)§@}rudgins-l_aw.com

Spencer Edwards

THE HUDGINS LAW FIRM

A PROFESSIONAL CORPORATION

24 Greenway Plaza, Suite 2000

Houston, Texas 77046

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ROBERT SCHELL

Plaintiff Pharr San Juan Alamo Independent School District’s Cel'tit`icate of Written Discovery Page 2 of 2

 

Case 7:15-cv-OO465 Document 1-9 Filed in TXSD on 11/06/15 P%Qee 40 oily$F§ed

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Hida|go County District C|erks
Reviewed By: C|audia Rodriguez

CAUSE NO. C-5149-l4-H

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT
Plainti}f

IN THE DISTRICT COURT

vs. 389th JUDICIAL DISTRICT

TEXAS DESCON, L.P., DESCON 4S,

L.L.C. and ERO INTERNATIONAL,

L.L.P. d/b/a ERO ARCHITECTS
Defendants

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HIDALGO COUNTY, TEXAS
PLAINTIFF’S FIRST AMENDED ORIGINAL PETITION

NOW COMES, Pharr San Juan Alamo lndependent School District, Plaintiff herein,
complaining of Texas Descon, L.P., Descon 4S, L.L.C. and ERO International, L.L.P., d/b/a
ERO Architects, and would show the Court as follows:

I.

Plaintiff intends to conduct discovery under Level 2 pursuant to_ Texas Rules of Civil

Procedure 190.2.

II.
Jurisdiction and Venue

Venue is proper in Hidalgo County, Texas, as all or a substantial part of the acts or
omissions giving rise to this cause of action occurred there. Tex. Civ. Prac. & Rem. lCode,
Section 15.002(a)(l).

II-I.
Parties

Plaintiff is Pharr San Juan Alarno lndependent School District, a public independent
school district and a political subdivision, duly formed and existing under the laws of the State of

Texas, based in Hidaigo County, Texas.

 

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Defendant is Texas Descon, L.P., a business entity With its principal office located in
McAllen, Hidalgo County, Texas. This party has been served and has filed and Answer.

Defendant is Descon -4S, L.L.C., a business entity with its principal office located in
McAllen, Hidalgo County, Texas. This party has been served and has filed an Answer.

Def`endant is ERO International, L.L.P. d/b/a ERO Architects, a business entity With its
principal office located in McAllen, Texas. This party has been served and has filed an Answer.

v Third Party Defendant is Frank Lam & Associates, lnc. has been served and has filed an

Answer.

IV.
Facts

On or about February, 2008, the governing board of Pharr San Juan Alamo lndependent
School District (hereinafter, “Plaintiff” or “the District”) authorized a preliminary investigation
and assessment into the feasibility of upgrading and/or renovating existing structures at the
District’s Memorial Middle School campus in Pharr, Texas. One of the buildings considered for
renovations and/or upgrades was a three-story main building, constructed in 1915 or 1918 with
subsequent remodeling and/or additions in 1976 and 1986. Other buildings considered for
renovation included a building used for textbook storage and a building used as a band hall, both
originally constructed sometime in the 1940’s.

On or about February 22, 2008, a Houston-based firm of consulting engineers, Terracon,
published its report of an on-site property condition assessment and inspection of the buildings
considered for renovations/upgrades. Terracon’s assessment was based upon visual inspection of
the property, some construction drawings relating to alteration and remodeling projects, as well
as interviews with the District’s construction manager, Mr. Ray Sanchez and Mr. Eli Ochoa,

P.E., A.I.A., an engineer working for Def`endant ERO International, L.L.P., an architectural firm

 

Case 7:15-cv-OO465 Document 1-9 Filed in TXSD on 11/06/15 Pag§:trda§icqt|y£$ ned

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Reviewed By: C|audia Rodriguez

(hereinafter, “Defendant” or “ERO”). The Terracon report concluded that the buildings were in
“fair to poor condition” and recommended that a detailed investigation of the foundation and
structural framing be conducted by a qualified structural engineer to ascertain the viability of
future renovations of the buildings The Terracon report further noted that during inspection
they discovered water ponding in the basement floor.

On or about M-arch 3, 2008, Defendant ERO completed its own inspection of the
existing structures at Memorial Middle School. ERO’s report of its inspection noted various
problems with the existing structures and the site, including large amounts of standing water and
needed repairs or upgrades to the roofing system and exterior walls. The report ultimately
recommended that the District should replace the campus rather than proceed with renovations
and upgrades, and cautioned that major`transformations, such as an evisceration of interior
components for structural repairs to the foundation, sub-flooring and Walls would be necessary if
the District proceeded With renovations.

Nevertheless, on the basis of subsequent representations from Defendant ERO that it
Would be safe, feasible and economically practicable to proceed, the governing board of` the
District authorized the renovation/upgrade project (“the Proj ect”), to be completed in two phases.
Phase I would be the upgrade/renovation and adaptive reuse of the three story main building
(“Main Building”) and Phase ll would be the upgrade/renovation and adaptive reuse of the band
hall (Stambaugh Building) and a building use for textbook storage (“textbook storage building”~).

Defendant Texas Descon,- L.P. through its general partner Descon 4S_, L.L.C.
(collectively, the “Descon Defendants”) executed a contract as the General Contractor on the
Proj ect on or about May 4, 2010. Defendant ERO executed a contract as the Architect on the

Project, on or about May 26, 2010.

 

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Hida|go County District C|erks
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Phase l of the Proj ect entailed demolition of certain outer columns and support structures
in order to construct improvements to the Main Building. Specifically, these improvements
would be structures that linked newer building wings to the Main Buiiding. During the course
of the demolition of the outer support structures, portions of the main school building not
designated for demolition, including large parts of the east wall and second story floor,
collapsed As a result of the demolition process and the east wall collapse, portions of the west
wall and support columns in the interior part of the building suffered structural damage requiring
significant repairs.

Regarding Phase ll of the Project, it was discovered in the course of construction of
additions and renovations to the textbook storage building and Stambaugh Buiiding that the
walls and support systems would have to be entirely demolished and rebuilt for stability
purposes, essentially requiring that the buildings be re-constructed from the foundation up.

Post-delivery of the Phase I Project to Plaintiff, the basement floor exhibited infiltration
of water requiring changes to the initial specifications and a major overhaul to the flooring.

V.
Breach of Contract

Plaintiff realleges and incorporates each material allegation contained in Paragraphs l
through IV of this Petition as if fully set forth herein. Defendants breached their respective
construction project contracts with Plaintiff by failing to perform_'ihe Work as contemplated, or
performing the work in a sub-standard manner that caused damage to Plaintiff’s property, The
respective contracts weresupported by consideration, Were never repudiated by any party to
them, and all conditions precedent to their enforcement have occurred Plaintiff incurred
damages from the respective breaches of contract by having to incur expenses to repair, redesign,

and replace the damaged buildings For these damages, Plaintiff seeks redress from this Court.

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Reviewed By: C|audia Rodriguez

VI.
Negligence

Plaintiff realleges and incorporates each material allegation contained in Paragraphs I
through V of this Petition as if fully set forth herein. The Descon Defendants were negligent in
the following ways: planning and/or execution of the demolition portion of Phase I of the
Project, resulting in the toppling of large portions of the east wall and second story floor and
subsidiary damage to the West wall and support columns, and failing to follow the specifications
and product installation conditions for the basement floor. This negligence on the part of the
Descon Defendants included, but was not limited to, failure to adequately inspect and test the
structures and site beforehand and failure to use appropriate demolition means and methods

Defendant ERO was negligent in one or more of the following ways: failing to undertake
a more thorough investigation and determination of the structural integrity and conditions of the
facilities; failure to advise Plaintiff during the design phases of Project of ERO’s lack of
sufficient information to design and specify the Project; and advising Plaintiff to proceed with
bidding the Projects in spite of insufficient plans and specifications Neglige_nce on the part of
Defendant ERO included, but Was not limited to, failure to adequately inspect and test the
structures, failure to require and review a submittal for proper demolition means and methods,
and failure to design improvements/additions to the existing structures which would have been
appropriate and feasible.

ERO’s negligence in its advice to Plaintiff and its negligent design, combined with
Descon’s negligence, resulted in the toppling of large portions of the east wall and second story
floor of the main classroom building, along with subsidiary damage to the west wall and interior
support columns, moisture infiltration to the basement floor and the additional cost of completion

of the textbook storage building and Stambaugh Building.

 

Case 7:15-cv-OO465 Document 1-9 Fl|ed m TXSD on 11/06/15 Paqu 45 of 55
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Reviewed By: C|audia Rodriguez

Third Party Defendant Frank Lam & Associates, Inc. was negligent in the preparation of
its structural engineering report and evaluation of existing structures at the Project site,
commissioned by Defendant ERO in order to determine issues related to the renovation of
existing buildings and to provide recommendations for the structural systems for the Project’s
renovations, additions and new construction
n Defendants collectively owed a duty of care to plan and perform the demolition in a
manner that would not result in the destruction of the District’s property that Was not scheduled
for demolition, and to recommend and design additions and renovations that were appropriate for
existing structures at the Memorial Middle School campus Defendants breached this duty,
proximately causing damages to Plaintiff

Plaintiff has suffered injury in that costs to clean up, redesign, and rebuild the structures
were incurred For these damages Plaintiff seeks redress from this Court. The Certificate of
Merit of Bradford Russell, AIA, Architect, detailing the specific acts of negligence of Defendant
ERO, is attached herein as Exhibit “A,” and incorporated for all purposes (Exhibits attached ton
Plaintiff s Original Petition and previously produced to Defendants).

VII. _
Negligent Misrepresentation

Plaintiff realleges and incorporates each material allegation contained in Paragraphs I
through VI of this Petition as if fully Set forth herein. Plaintiff brings this action for common law
misrepresentation against Defendant ERO. Defendant ERO provided false information to
Plaintiff in the course of Defendant’s business ERO failed to exercise reasonable care or
competence in obtaining and communicating and Plaintiff justifiably relied on, the information,
with damages to Plaintiff proximately resulting from said reliance'. Specifically, Defendant ERO

represented to Plaintiff that the improvements in the form of renovations and additions that ERO

 

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Reviewed By: C|audia Rodriguez

recommended and designed would be appropriate for the existing structures at the Memorial
Middle School campus, and could be feasibly completed as planned without foreseeable damage
to existing structures, and without necessitating demolition and rebuilding of portions of
structures not designated for demolition/rebuilding

Plaintiff justifiably relied upon the representations of ERO in making its decision to
n approve the improvements based upon ERO’s professional credentials and thereby suffered
damages when it was discovered that the improvements recommended and designed by
Defendant ERO were not appropriate for the existing Structures and could not be completed
without excess destruction and rebuilding far beyond what was originally contemplated The
damages sought by Plaintiff as to the Main Buiiding is the difference between the cost of repairs
and the cost had ERO included the necessary changes and modifications in the first place. The
damages sought by Plaintiff as to the Stambaugh Buiiding and textbook storage building is the
difference between the cost to rebuild/renovate those buildings and the cost to build two
completely new structures, in addition to the currently appraised values of those two buildings,
which Plaintiff would have continued to utilize for school purposes

VIlI.
Gross Negligence

Plaintiff further alleges that the acts and omissions of Defendant ERO constituted gross
negligence, in that these acts or omissions when viewed objectively from ERO’s standpoint at
the time of the occurrence, involved an extreme degree of risk considering the probability and
magnitude of potential harm to others, which ERO had actual subjective awareness of the degree
of risk involved, but proceeded with conscious indifference to the rights, safety, and welfare of
others Pleading more specifically, Defendant ERO recommended and designed improvements

in the form of renovations and additions to existing structures at the District’s Memorial Middle

 

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School campus when it had actual, subjective knowledge that‘no renovations or additions should
be contemplated because of inherent problems with the structures, yet nevertheless proceeded to
recommend and design these improvements with a conscious disregard of the possibility of
catastrophic accidents causing extreme property damage and/or potential injury and loss of life.

IX.
Limitations/Repose

Plaintiff, being a school district, alleges that none of the causes of action pled herein are
barred by limitations by operation of Tex. Civ. Prac. & Rem. Code, § 16.061.

Further, Plaintiff alleges that the Statute of Repose found in Tex. Civ. Prac. & Rem. Code §
16.008 does not bar its claim against Defendant ERO, who designed or planned the
improvements on the Project, as Plaintiff has filed suit within ten years of the beginning of the
operation of the equipment at the Project site.

Further, Plaintiff alleges that the Statute of Repose found in Tex. Civ. Prac. & Rem. Code §
16.009 does not bar its claim against the Descon Defendants, Who constructed or repaired
improvements`in the course of the Project, as Plaintiff filed suit Within ten years of the
substantial completion of the improvements (i.e., renovations and additions to the buildings in
question).

XI
Resulting Legal Damages

Plaintiff is entitled to the actual damages proximately resulting from the Defendants’
actions and omissions Plaintiff has sustained damages in excess of the minimal jurisdictional
limits of this Court resulting from the Defendant’s acts and/or omissions Plaintiff is also
entitled to recover exemplary damages pursuant to Chapter 41 of the Texas Civil Practice &

Remedies Code for the actions of Defendant ERO which constitute gross negligence

 

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XI.
JURY DEMAND

Plaintiff demands a trial by jury and tenders the appropriate fee with this Petition.

XII.
PRAYER

WHEREFORE, Plaintiff requests that the Defendants be cited to appear and answer, and
that on final hearing, Plaintiff recover from Defendants, jointly and severally:

1. Actual and consequential damages in an amount exceeding the minimum

jurisdictional limits of this Court, plus accrued interest from the date on which the

claim accrued to the date ofjudgment;

Exemplary damages;

Attomey’s fees in a reasonable sum as the Court may award;

Costs of` suit, and pre and post judgment interest;

In the event of an appeal to the court of` appeals, additional reasonable attorney‘s fee;

in the event of granting of writ to the Supreme Court, additional reasonable attorney's

fees.

6. Such other and further relief to which Plaintiff may be justly entitled at law or in
equity.

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Respectfully Submitted,

THE J. RAMIREZ LAW FIRM
Attorneys at Law

Ebony Park, Suite B

700 North Veterans Boulevard
San Juan, Texas 785 89

(956) 502-5424

(956) 502-5007

By: 42/\_/
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Email: robertwschell@hotrnail.com
ATTORNEYS FOR
PHARR SAN JUAN ALAIVIO I.S.D.

 

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CERTIFICATE OF SERVICE

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I, JESUS RAMIREZ, certify that on the 19th day of June, 2015, a true and correct
copy of the foregoing, Plaintiff’s First An_: ended Original Petition was served on the following

counsel of record:

Via Cert‘r'{led Mm'it `
Rerum Receip! Reg_cg_qsred No. 7015 0630 0006 9943 764 7

And Emar'!.' sedward@udgfns-Iaw.com
Spencer Edwards

THE HUDGINS LAW FIRM

A PROFESSIONAL CORPORATION
24 Greenway Plaza, Suite 2000

Houston, Texas 77046

Via Certi[red Maz'!,
Re!urn Recer'gt Reguested No. 7015 0640 0006 9943 7654

And Emar'l: dben[’amin§a}l_)en£awsa.com

David P. Benj amin

'BENJ-AMIN, VANA, MARTINEZ & BIGGS, LLP
2161 NW Military Highway, Suite 111

San Antonio, Texas 78213

Via Cer!¢‘ ed Ma:`{

Rerurn Reclipt Reggested No. 7015 0640 0006 9943 7661
MEM¢_H°I: mbc@gag£aw.com

Matthew B. Cano

ALLENSWORTH AND PORTER, L.L.P.

100 Congress Avenue, Suite 700

Austin, Texas 78701

<7/--__./

JESUS RAMIREZ

10

 

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EXHIBIT “A”
TO

PLAINTIFF’S FIRST AMENDED ORIGINAL PETITION

 

 

 

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C-5149-14-H
CAUSE NO.
PHARR SAN JUAN ALAMO

INDEPENDENT SCHOOL DISTRICT
Plaintiff

IN THE DISTRICT COURT

vs.

HIDALGO COUN'I'Y, TEXAS

TEXAS DESCON, L.P., DESCON 4S,

L.L.C. and ERO INTERNATIONAL,

L.L.P. d/b/a ERO ARCHITECTS
Defendants

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` 3325_“'_ JUDICIAL DISTRICT

AFI"[DAVYI` OF BRADFORD RUSSELL, A.I.A., P.E.
THE S'I'A'I`B OF TEXAS

§
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BEFORE MB, the undersigned authority, on this day personally appeared Braclford
Russell, A.I.A., P.E., who being by me duly sworn on oath deposed and said:

l. “My name is Bradford Russell. I am over the age of twenty-one (21) years, I have
never been convicted of a felony, and 1 am competent to make this affidavit l have

personal knowledge of the matters contained' in this affidavit, and they a1e true and
cor.rect _

2. This affidavit is submitted pursuant to the requirements offIEXAS CIVlL PRACTICE
AND REMED!ES CODE § 150.002, with respect to the architectural services provided by
Mr. Eli Ochoa, A.I.A., P.~E. and ERO Intematlonal, L.L.P. d/b/a ERO Architects in
the design and planning of improvements at Pharr San Juan Alamo lndependent School
District’s Memorial Middle School in Pharr, Texas (the “Project”).

3. I am a licensed professional architect and structural engineer in the state of Texas, I am
competent to testify, and I am actively engaged in the practices of architecture and
engineering A true and correct copy of my resume is attached hereto as Exhibit A, and is
incorporated herein by reference for all purposes

4. Based on my research, experience in the industry, and review of P1 eject Documents, as
described herein below, Mr. Ell Ochoa, A. I. A., P. E. and ER() lnternational, L. L. P
d/b/a ERO Architects were engaged' m, and were retained on the Project, to plan and
design improvements, including renovations and additions to existing structures and all
architectural requirements in connection therewith

 

 

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5. As shown in my resume, Exliibit A, l am licensed to practice arohitecture, and have,
for the past 15 plus years, been actively engaged in providing architectural services for
clients similar in nature and geographic location to the Project,

6. Based on my education and professional experience l have personal knowledge of thc -
acceptable standards for the practice of architecture and the plan and design of
improvements including renovations and additions to older stiuctures and all architectural ‘
requirements in connection therewith, in the state of Texas and the greater McAllen area,
which was the task to be performed by Mr. Eli Ochoa, A.LA., P.E. and ERO
Inuemat~ional, L.L.P. d/b/a ERO Architects on this Project,

7 . l have reviewed the following documents (the “Project Documents" herein) relating to
the Project and Mr. Eli Ochoa, A.I.A., P.E. and ERO International, L.L.P. dib/a ERO
Architects’ services in this matter:

Scc Exhibit B: Project Documcnts

8. Based on my education, cxperience, and a review of the Project Documents, it is my
professional opinion that Mr. Eli Ochoa, A.I.A., P.E. and ERO International, L.L.P.
d/b/a ERO Architects is responsible for at least the following act, error, or omission that
exists on the Project:

1) Falllng to undertake a more thorough investigation and determination of
the structural integrity of an existing building for future modifications,
and existing conditions of the facilitlcs, ,

2) Failure to advise Plaintiff during the design phases of Project.of ERO’s
lack of sufficient information to design and specify the Project without a
degree of uncertainty,

3) Fallure to require and review a submittal for proper demolition of
Project from the contractor for the construction,

4) Fallui'e to design improvements/additions to the existing structures which
would have been appropriate for structures of similar age and condition.

9. These acts, errors, and/or omissions show that Mr. Eli Ochoa, A.I.A., P.E'. and ERO
Internatioual, L.L.P. d/b/a ERO Architects failed to meet the applicable work product
standards of similar design professionals

10. My investigation is ongoing, and further examination ofthe Project may lead to a
different`undcrstmrding or to the discovery cf additional negligent acts, errors, and/or
omissions in the work performed by Mr. Eli Ochoa, A.I.A., P.E. and ERO
International, L.L.P. d/b/a ERO Architects. As a result, l reserve the right to
supplement and/or expand my opinions and conclusions with respect to the performance
of Mr. Ell Ochoa, A.I'.A., P.E. and ERO International, L.L.P. d/b/a ERO Architects.

 

 

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Further affiant sayeth nuught.

 

‘BF@{!§FG\RI) RUssELL, A'.I.A., P.E.

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THE STATE OF TEXAS

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CAUSE NO. C-5149-l4-H

PHARR SAN JUAN ALAMO
INDEPENDENT SCHOOL DISTRICT

VS.
TEXAS DESCON, LP, DESCON 4S, LLC

AND ERO INTERNATIONAL, LLP D/B/A
ERO ARCHITECTS

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[N THE DISTRICT COURT OF

HIDALGO COUNTY, TEXAS

389TH JUDIClAL DISTRICT

'I`l‘IIRD PARTY PLAINT.IFFS’ NOTICE OF N(]NS UIT

Third-Party Plaintiffs Texas Descon, LP and Descon 4S, LLC hereby nonsuit all claims

asserted against Third-Party Defendant VCI Builders, Inc. Without prejudice to their right to

refile at a later date.

Respectfully submitted,

 

Spencer Edwards

State Bar Number 90001513
sedwards@hudgins-law.com
Eric C. Nordstrom

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Telephone (713) 623-25 50
Facsirnile (713) 623-2793

ATTORNEYS FOR DEFENDANTS/
THIRD PARTY PLAINTIFFS
TEXAS DESCON, LP AND DESCON 4S, LLC

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CERTIFICATE 0 F SERVIC E

I certify that the foregoing Notice of Nonsuit without Prejudice was served on the
following counsel:

Jesus Ramirez

Attorney at Law

700 Veterans Blvd., Suite B
San Juan, Texas 78589

David P. Benjamin

Benjamin, Vana, Martinez & Biggs, LLP
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Sara Whittington May

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100 N. Congress Avenue, Suite 100
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David Flores

Flores & Torres, LLP
118 E Cano St.
Edinburg, TX 78539

via e-filing and facsimile on the 3rd day of June 2015,

 

Eric C. Nordstrom

